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Exhibit A




                                    1
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Exhibit B




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      Case 1:20-cv-00067-JPW-MCC Document 30-1 Filed 02/07/20 Page 7 of 78

Exhibit C
 CELDF Current Staff

 NH
 Michelle Sanborn – NH Community Organizer (employee)
 Kira Kelley – NH attorney (contractor)

 PA
 Chad Nicholson – PA Community Organizer (employee)
 Ben Price – National Organizing Director (employee)
 Stacey Schmader – Sec/Treas, Administrative Director, Financial Officer, National Democracy
 School Director (employee)
 Malinda Clatterbuck – PACRN Coordinator (contractor)
 Karen Hoffmann – PA Attorney (contractor)
 Holly Coldsmith – Administrative Assistant (employee)
 Lina Blount – PA Communications Coordinator (contractor)

 OH
 Tish O’Dell – OH Community Organizer (employee)
 Emelyn Lybarger – Outreach and Communications Director (employee – submitted resignation)
 Lisa Kochheiser – OH Coordinator (contractor)
 Markie Miller – Foundation and Donor Outreach Assistant (contractor)
 Crystal Jankowski – Social Media Coordinator (contractor)
 Terry Lodge – OH Attorney (contractor)

 NY
 Simon Davis-Cohen – Research and Communications Associate
 NM
 Dan Brannen – Interim Executive Director/Managing Attorney (contractor)

 WA
 Thomas Linzey – Ex Executive Director, Ex President, current General Counsel? (employee)
 Mari Margil – Associate Director (employee)
 Kai Huschke – WA/OR Community Organizer (employee)
 Lindsey Schromen-Wawrin – WA Attorney (contractor)
 Nancy Ward – OR Community Organizer (contractor)

 OR
 Patti Gouveia – ORCRN fundraiser (contractor)

 UT
 Will Falk – Attorney (contractor)

 CO
 Karen Breslin – Attorney (contractor)




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Exhibit D
 March 1, 2019



 Dear CELDF Executive Committee,

 The organizing team is submitting a request as a result of numerous discussions over
 the last few months regarding incidents (transpiring over a number of years) that have
 been experienced individually and collectively. Through those discussions, we realize
 that our current internal organizational health is compromised.

 At some point it will be necessary to address the specific issues/incidents that led to our
 discussions, however the central issue we urgently desire to be addressed is our
 experience of a breach of trust and mutual respect with ​major leadership arenas of the
 organization​. Real harm has been experienced by members of the organizing team and
 other staff within the organization.

 The cumulative impact has taken a physical and emotional toll on the health of the
 organizing team and other staff in the organization. This in turn is affecting the work as
 well as the health and viability of the organization itself. All of this is happening on top of
 the exterior pressures felt by each of us on a daily basis from engaging in
 the difficult work that we do, which adds to the impact on our health and wellbeing in
 various additional ways.

 We are very motivated to figure out together how to navigate these serious issues in the
 organization. We fully understand working through these matters may not achieve the
 positive change desired, but an effort must still be made. We also understand that
 without a real commitment and willingness from everyone to work towards healing
 trust and relationship issues, a resolution may not be possible.

 We make this request with genuine care and connection to one another as colleagues,
 friends, and with an understanding that we are all unique people. Our intention is not
 about attacking one another or any individual. Rather, our intention is about asking for
 space and a process in order to bring forward the seriousness of the trust and mutual
 respect issues, and ideally begin the healing process.

 Further, our sense is that this will mean a process whereby we can share the toll this
 work takes, not as a conversation to get mired in, but to help foster understanding of
 how complicated this is - multiple layers intersecting to create heightened emotions and
 higher psychological stakes. We also believe it means a process whereby we can share
 our perspective and experience of how trust is compromised between the major
 leadership arenas of the organization. Most importantly, we think this process, to be
 successful, must include setting some groundwork on how to rebuild what has been
 broken or damaged, as well as how to strengthen what ​is​ working.




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Because of the seriousness of the situation, we suggest the following:

     1. Seek unbiased outside professional assistance (organizational consultant) to
        help us navigate to a healthier place
     2. Schedule (as soon as feasible) an in-person gathering as part of the process in
        which an outside facilitator would be present

For the in-person gathering the thinking is to include full time staff only. As to the timing,
we should gather at the earliest possible convenience ideally this spring. The organizing
team is of the unanimous opinion that this is serious enough to the future of the
organization that we should not delay meeting until the staff retreat.

Please know that this is a difficult request to make, and we realize this is likely a difficult
request to receive. We also recognize conversations must take place before any
decisions are made, including budgetary discussions. With that said, it bears repeating
that we believe these issues cannot be ignored. Our heartfelt concerns must be dealt
with or they will continue to adversely affect the abilities of the organization to do what
we are poised to do, and individuals within the organization will continue to be harmed.

Thank you,
CELDF Organizing Team




                                               9
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Exhibit E




                                     10
9/24/2019                                    Gmail - Proposal30-1
                 Case 1:20-cv-00067-JPW-MCC Document          for June get together
                                                                       Filed    02/07/20 Page 11 of 78
 Exhibit F
                                                                                                  Kai Huschke <kaihuschke@gmail.com>



  Proposal for June get together
  1 message

  Kai Huschke <kai@celdf.org>                                                               Thu, Apr 18, 2019 at 3:34 PM
  To: Chad Nicholson <chad@celdf.org>, Ben Price <benprice@celdf.org>, Mari Margil <mmargil@celdf.org>, Stacey
  Schmader <stacey@celdf.org>

    Below is the proposal for the EC to review on Tuesday.

    Cheers,
    Kai

    PROPOSAL
    The letter from the organizing team to the executive committee, dated March 1, 2019,
    stated that our current internal organizational health is compromised and that there has
    been a breach of trust and mutual respect with major leadership arenas of the
    organization which is affecting the work as well as the health and viability of the
    organization itself.

    The organizing team still believes that this is a critical organizational issue needing to be
    worked on and through.

    In addition to and equally critical because of how interconnected they are to the trust
    issue are two other organizational issues:
            1. Organizational decision making authority and process
            2. Organizational formulation and function based on external pressures/realities

    All three issues are ones that have not been adequately dealt with. The impact, as such,
    has been that we continue to struggle and/or underperform as an organization.

    It was also suggested in the original letter that the organization subscribe to the
    following:

            1. Seek unbiased outside professional assistance (organizational consultant) to
               help us navigate to a healthier place
            2. Schedule (as soon as feasible) an in-person gathering as part of the process in
               which an outside consultant/facilitator would be present

    That request of outside assistance and a timely coming together still hold for all three
    organizational issues. And though it may be difficult and perhaps not the best idea to
    attempt to work through all issues in one setting necessity, time, and cost all point to
    attempting to do so.

    As to the suggestion of an outside organizational consultant the reasons for that are to:

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9/24/2019                                    Gmail - Proposal30-1
                 Case 1:20-cv-00067-JPW-MCC Document          for June get together
                                                                       Filed    02/07/20 Page 12 of 78
               Help provide a means and space for effectively addressing and working through
               trust issues between individuals and decision making bodies of the organization
               Facilitate a discussion and working session on how best to physically structure
               CELDF; and through that ideally gain clarity on what CELDF will do and how to
               do it because of/or despite of external realities
               Guidance on coming to agreements on how the major operational bodies of the
               organization will interrelate with each other including on responsibilities and
               decision making authority
    The nature of this discussion, the recent success of LEBoR and the difficulty of decision
    making that followed, the continuing lack of clarity on the decision making structure, and
    the overall fatigue of unresolved or unaddressed internal issues along with external
    realities warrant a coming together now. In addition to the urgency, having such a
    gathering soon will help in informing how the larger staff gathering in September could
    be formulated.

    TIMING + DURATION
    The suggestion is to meet in mid to late June for two days most likely in PA. This would
    mean coming in the evening before, working through two full days, and departing the
    morning following.

    INVITEES
    In addition to an organizational consultant the CELDF staff to be invited would be those
    in leadership and senior positions in the organization. They would include:

    Michelle - New Hampshire
    Stacey - Pennsylvania
    Ben - Pennsylvania
    Chad - Pennsylvania
    Tish - Ohio
    Emelyn - Ohio
    Dan - New Mexico
    Thomas - Washington
    Mari - Washington
    Lindsey - Washington
    Kai - Washington

    BUDGET CONSIDERATIONS
    Actual costs have not yet been researched here but the projected break down is as
    follows. The biggest unknown in the overall budget is what a consultant will cost:

    Travel = $4500
    Lodging = $3000
    Food/drink = $1700
    Organizational consultant = $3500
    Misc. = $800
                                                                        12
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9/24/2019                                    Gmail - Proposal30-1
                 Case 1:20-cv-00067-JPW-MCC Document          for June get together
                                                                       Filed    02/07/20 Page 13 of 78
    Projected total budget = $13,500

    --
    Kai Huschke
    CELDF Northwest + Hawaii Organizer
    kai@celdf.org
    509-607-5034

    This communication is confidential, and exempt from disclosure, under the attorney-client privilege, the rules of
    professional responsibility, and the workproduct doctrine, by virtue of this client’s engagement of the Community
    Environmental Legal Defense Fund for legal services and other related services, and the Community Environmental Legal
    Defense Fund’s use of this communication to render those services to the client pursuant to that engagement.




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9/24/2019                                      Gmail - June
                Case 1:20-cv-00067-JPW-MCC Document    30-1 Gathering
                                                                 Filed 02/07/20 Page 14 of 78
 Exhibit G
                                                                                                 Kai Huschke <kaihuschke@gmail.com>



  June Gathering
  1 message

  Stace Schma er <stacey@celdf.org>                                                        Fri, May 17, 2019 at 1:40 PM
  To: Thomas Linzey <tal@pa.net>
  Cc: Chad Nicholson <chad@celdf.org>, Kai Huschke <kai@celdf.org>, Ben Price <benprice@celdf.org>, Mari Margil
  <mmargil@celdf.org>

    Thomas,

    It s our understanding that, at this point, you ve declined to attend the June staff gathering.

    We d like to reiterate a couple points:
    -While originating with a letter from the organizers, the decision to hold the gathering (with an outside facilitator) was
    approved by the Executive Committee, with an expectation that all staff would attend.
    -The gathering will be dealing with many issues, including internal trust and process, as well as organizational structure
    and decisionmaking moving ahead. As Executive Director, both in terms of your history with CELDF as well as your
    leadership role within the organization, it is critical for you to be there for these discussions and decisions.

    If there was confusion over whether or not your presence was a request, we apologize. If the dates are a problem, we can
    consider something else; however, given that those dates currently work for the rest of the staff, it is our strong preference
    that we hold the gathering on those dates.

    The date for the meeting is June 25-26, with arrival on the 24th and departure on the 27th. The meeting will either be held
    in PA or OH.

    If you d like to discuss any of this further, please let us know and we can chat about it on the next ExComm call.

    Executive Committee

    Stacey Schmader
    Financial Officer
    CELDF
    PO Box 360
    Mercersburg, PA 17236
    717-498-0054
    www.celdf.org




    This communication is confidential, and exempt from disclosure, under the attorney-client privilege, the rules of professional
    responsibility, and the work product doctrine, by virtue of this client’s engagement of the Community Environmental Legal Defense
    Fund for legal services and other related services, and the Community Environmental Legal Defense Fund’s use of this
    communication to render those services to the client pursuant to that engagement.




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Exhibit H




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                                                           FILED
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                                                          Secretary of State

Exhibit I                                                State of Washington
                                                        Date Filed: 10/18/2019
                                                      Effective Date: 10/18/2019
                                                        UBI No: 604 522 686




                                                                    Work Order #: 2019100900499032 - 1
                                    17                                       Received Date: 10/17/2019
                                Page: 1 of 4                                  Amount Received: $30.00
Case 1:20-cv-00067-JPW-MCC Document 30-1 Filed 02/07/20 Page 18 of 78




                                                             Work Order #: 2019100900499032 - 1
                                  18                                  Received Date: 10/17/2019
                              Page: 2 of 4                             Amount Received: $30.00
Case 1:20-cv-00067-JPW-MCC Document 30-1 Filed 02/07/20 Page 19 of 78




                                                             Work Order #: 2019100900499032 - 1
                                  19                                  Received Date: 10/17/2019
                              Page: 3 of 4                             Amount Received: $30.00
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                                                             Work Order #: 2019100900499032 - 1
                                  20                                  Received Date: 10/17/2019
                              Page: 4 of 4                             Amount Received: $30.00
   Case 1:20-cv-00067-JPW-MCC Document 30-1 Filed 02/07/20 Page 21 of 78
Exhibit J




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                                 23
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Exhibit K
                                         Board Resolution

 Whereas, on May 14, 2019, the Board of Directors of the Community Environmental Legal
 Defense Fund (CELDF) adopted a reorganization plan for the organization. The plan included
 accepting the resignation of the organization's Executive Director, Thomas Linzey, while also
 approving the organization’s continuing working relationship with Mr. Linzey. The plan also
 included constituting an Executive Committee to carry out the day-to-day management of the
 organization; and

 Whereas, in September 2019, the Executive Committee asked this Board to put the
 reorganization plan on hold to allow the organization first to engage in a substantive strategic
 planning process, to include examining our mission, goals, objectives, organizational
 management and structure, and strategies; and

 Whereas, it is the sense of the Board that divisions between Mr. Linzey and others in the
 organization make it impossible to tend to either reorganization or strategic planning without
 first tending to Mr. Linzey’s stated desire to depart the organization on amicable, negotiated
 terms; and

 Whereas, the Board finds that given recent actions and ambiguities concerning the
 composition of this Board and appointments thereto, it is necessary to stabilize the
 organization by appointing an Executive Director, so the Board can tend to Mr. Linzey’s
 departure, and then tend to reorganization and strategic planning, without distraction;

 Therefore, the Board of Directors of the Community Environmental Legal Defense Fund
 resolves to amend the May 14, 2019, Resolution with the following:

    1. Sections 3 to 6 of the May 14, 2019, Resolution are hereby rescinded.

    2. Section 8 of the May 14, 2019, Resolution is rewritten entirely to now read: That an
       interim committee of five CELDF individuals be created to carry out the day-to-day
       management of CELDF while the organization undertakes substantial strategic planning,
       not to exceed a period of fourteen (14) months, with those five to be the Executive
       Director (or in the event of a vacancy in the Executive Director position, the Managing
       Attorney), the National Organizing Director, the Associate Director, the
       Communications and Outreach Director, and the National Administrative Director. The
       group shall meet twice a week to discuss organizational issues, and while the group shall
       strive for consensus on decisions, if consensus cannot be reached, binding decisions
       shall be made by majority vote. The Executive Director shall make organizational
       decisions in between the meetings of the committee, as needed. The committee may
       make decisions via electronic mail as needed.




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   3. The Board hereby appoints ___________________ to serve as Executive Director of the
      organization for a period of fourteen (14) months from the date of this resolution,
      effective immediately. The Board and __________ shall negotiate a contract for the
      salary called for by the Bylaws and other terms as required by both parties. The
      Executive Director shall carry out all duties of Executive Director called for by the
      Bylaws of the organization, and shall serve on the Executive Committee provided for by
      paragraph 2 above.


Signed this _____Day of October, 2019


________________________
Tammy Belinsky, Chair




________________________
Ed Wells, Director




________________________
Fred Walls, Director




Authenticated By:


________________________
Stacey Schmader, Secretary




                                         Page 2 of 2

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Gmail - Appointment as Executive Director                                                                                    12/4/19, 11(15 PM



  Exhibit L
                                                                                             Kira Kelley <kakelley436@gmail.com>



 Appointment as Executive Director
 1 message

 Thomas Alan Linzey, Esq. <tal@pa.net>                                             Mon, Dec 2, 2019 at 11:25 AM
 To: celdf-staff-internal <celdf-staff-internal@googlegroups.com>
 Cc: Edward Wells <ewells@wilson.edu>, Tammy Belinsky <tambel@hughes.net>, Fred Walls
 <lockhartandfriends@gmail.com>


    Greetings CELDF Staff,



    Two items of note:



    First, at last night’s board of directors’ meeting (12/1), the Board formally accepted Dan Brannen’s resignation as
    Executive Director.



    Second, and also at last night’s board of directors meeting, the Board then appointed me as Executive Director, by a
    unanimous vote, and I agreed to the appointment.



    As we work through the next several weeks, I will be contacting each of you individually to talk about next steps.



    -Thomas



    Thomas Alan Linzey, Esq., Senior Counsel

    Community Environmental Legal Defense Fund (CELDF)

    P.O. Box 360

    Mercersburg, Pennsylvania 17236

    (717) 498-0054

    www.celdf.org

    info@celdf.org



    “Calling ourselves environmentalists without advocating for the rights of nature would be like living in the 1840’s, and calling
                                ourselves abolitionists without talking about the rights of slaves.”

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                   Case 1:20-cv-00067-JPW-MCC Document 30-1 Filed 02/07/20 Page 27 of 78
Gmail - Appointment as Executive Director                                                                                       12/4/19, 11(15 PM




    NOTICE: This communication is confidential, and exempt from disclosure, under the attorney-client privilege, the rules of
    professional responsibility, and the workproduct doctrine, by virtue of this client’s engagement of the Community
    Environmental Legal Defense Fund for legal services and other related services, and the Community Environmental Legal
    Defense Fund’s use of this communication to render those services to the client pursuant to that engagement.



    --
    You received this message because you are subscribed to the Google Groups "CELDF staff internal" group.
    To unsubscribe from this group and stop receiving emails from it, send an email to celdf-staff-internal+
    unsubscribe@googlegroups.com.
    To view this discussion on the web visit https://groups.google.com/d/msgid/celdf-staff-internal/
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https://mail.google.com/mail/u/0?ik=f62a2cce54&view=pt&search=…read-f%3A1651825920557764770&simpl=msg-f%3A1651825920557764770        Page 2 of 2

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Exhibit M




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        Exhibit N

           CELDF (https://web.archive.org/web/20191006133855/ht

Board & Staff
The CELDF board and staff are composed of dedicated individuals whose mission is the protection of
communities and nature and the advancement of community rights.




CELDF Staff
Thomas Linzey, Esq., Executive Director. Thomas is a co-founder of the Community Environmental Legal
Defense Fund and serves as chief legal counsel. Contact: info@celdf.org
(https://web.archive.org/web/20191006133855/mailto:info@celdf.org) and 717-498-0054


Stacey Schmader, Administrative Director and National Democracy School Director. Stacey is a co-founder of
CELDF. She administers the Democracy School program and is CELDF’s financial officer.
Contact: stacey@celdf.org (https://web.archive.org/web/20191006133855/mailto:stacey@celdf.org) and 717-
498-0054


Mari Margil, Associate Director. Mari runs our international program, working in Nepal, India, Australia, and
other countries to advance the Rights of Nature. She also leads CELDF’s outreach and development efforts.
Contact: mmargil@celdf.org (https://web.archive.org/web/20191006133855/mailto:mmargil@celdf.org) and
717-498-0054


Ben Price, National Organizing Director. Ben leads our organizing nationwide. Before moving into the national
director position, he led our work across Pennsylvania, where over 100 communities have enacted CELDF-drafted
laws. Ben is a Democracy School lecturer. Contact: benprice@celdf.org
(https://web.archive.org/web/20191006133855/mailto:benprice@celdf.org) and 717-254-3233


Emelyn Lybarger, Communications and Outreach Director. Emelyn leads our donor and foundation outreach,
and coordinates CELDF communications, including our website and social media. Contact: emelyn@celdf.org
(https://web.archive.org/web/20191006133855/mailto:emelyn@celdf.org).


Chad Nicholson, Pennsylvania Community Organizer. Chad joined our staff in 2010, after working with Envision
Spokane. He now lives and organizes in Pennsylvania, assisting communities to engage in rights-based organizing
to protect themselves from harmful corporate activities. Contact: chad@celdf.org
(https://web.archive.org/web/20191006133855/mailto:chad@celdf.org) and 207-541-3649


                                                       31
Kai Huschke, Northwest and Hawaii Community Organizer. Kai is a board member of Envision Spokane and is
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working to organize other communities in Washington, Oregon, and Hawaii. Contact: kai@celdf.org
(https://web.archive.org/web/20191006133855/mailto:kai@celdf.org) and 509-607-5034


Tish O’Dell, Ohio Community Organizer. Tish co-founded the grass-roots organization in Broadview Heights, OH,
that successfully campaigned to adopt a Home Rule Charter amendment creating a Community Bill of Rights
banning shale gas drilling and fracking. Contact: tish@celdf.org
(https://web.archive.org/web/20191006133855/mailto:tish@celdf.org) and 440-838-5272


Michelle Sanborn, New Hampshire Community Organizer. Michelle co-led the effort to protect her hometown of
Alexandria, NH, from industrial wind turbines through a Community Bill of Rights Ordinance, which was adopted
by her community in 2014. Michelle is organizing across New Hampshire and supporting the work of the New
Hampshire Community Rights Network, building a statewide network of communities to expand our grassroots
organizing and move our organizing framework to the state level. Contact: michelle@celdf.org
(https://web.archive.org/web/20191006133855/mailto:michelle@celdf.org) and 603-524-2468


Lisa Kochheiser, OHCRN Coordinator. Lisa is helping expand our grassroots organizing, community education,
and outreach across Ohio. Contact: lisa@celdf.org
(https://web.archive.org/web/20191006133855/mailto:lisa@celdf.org)




CELDF Board of Directors
Tammy Belinsky, Esq., Virginia
Attorney, The Environmental Law Group, PLLC


Fred Walls, Pennsylvania
Retired Dairy Farmer
Former Board Member of Friends and Residents of St. Thomas Township


Edward Wells, Pennsylvania
Professor and Chair of Environmental Studies, Wilson College




Board of Advisors
Kenny Ausubel, CEO & Co-Founder, Bioneers
(https://web.archive.org/web/20191006133855/http://www.bioneers.org/)         (New Mexico)

Kenny Ausubel is an award-winning social entrepreneur, author, journalist, and filmmaker. He is the CEO and Co-
Founder of Bioneers, a nationally recognized nonprofit dedicated to disseminating practical and visionary
solutions for restoring Earth’s imperiled ecosystems and healing our human communities. Ausubel launched the
annual National Bioneers Conference in 1990 with his producing partner and wife, Nina Simons, Bioneers Co-
Founder.
                                                       32
His work has been recognized by the Buckminster Fuller Institute’s Challenge Award as well as awards from the
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Rainforest Action Network and Global Green, among others. He serves as executive producer and co-writer of the
award-winning annual radio series, “The Bioneers: Revolution From the Heart of Nature,” which airs on 500 U.S.
outlets and 60 more in 12 other nations. He co-founded the company Seeds of Change, the first national organic
seed company dedicated to “backyard biodiversity.”


Ausubel has produced several documentary films including the award-winning feature documentary filmHoxsey:
How Healing Becomes a Crime. The movie played theatrically and garnered the highest viewer response at the
time it aired on HBO and later on Bravo. The film had a special screening for members of Congress at the Kennedy
Center. He founded and operates Inner Tan Productions, a visionary film development company. He acted as a
central advisor to Leonardo DiCaprio on his feature documentaryThe 11th Hour, and appears in the film.


Ausubel has written several books – Dreaming the Future: Reimagining Civilization in the Age of Nature(2012);
When Healing Becomes a Crime: The Amazing Story of the Hoxsey Cancer Clinics and the Return of Alternative
Therapies (2000); The Bioneers: Declarations of Interdependence (1995); and Seeds of Change: The Living Treasure
(1994).




Spencer Beebe, Founder, Ecotrust
(https://web.archive.org/web/20191006133855/http://www.ecotrust.org/)           (Oregon)

Spencer Beebe is a fourth generation Portlander with a lifetime commitment to wilderness and new approaches to
conservation, social justice, and development – both domestically and internationally. Mr. Beebe spent 14 years
with The Nature Conservancy before creating Conservation International with 50 others in 1987. In 1991, he
founded Ecotrust to bring global perspectives on rain forest conservation to the temperate rain forest bioregion of
North America. He chairs Ecotrust and Ecotrust Forest Management, Inc. In his book Cache, Mr. Beebe shares
stories from a 40-year adventure exploring new ways to integrate social, economic, and ecological well being. In
the Foreword to Cache, Tom Brokaw wrote, “His pilgrimage is a journey to be relished and emulated, a
commitment to be encouraged and shared, a life to be honored.”




Anneke Campbell, Writer, producer, and activist (California)

Anneke Campbell has worked as a midwife, nurse, yoga teacher, college teacher of English, and writer in a number
of genres. She has won awards for poetry, journalism and a television script. She writes and co-produces videos
for environmental and social justice organizations, and co-wrote with Thomas Linzey a manual for activists,Be The
Change: How To Get What You Want in Your Community. In 2010, she edited an anthology on women’s leadership:
Moonrise: The Power of Women Leading from the Heart. She works as a community activist in Los Angeles and is
completing doctoral studies at the California Institute for Integral Studies, researching models for participatory
leadership towards sustainability.




                                                        33
Leila Conners, Tree  Media
                Case 1:20-cv-00067-JPW-MCC           Document 30-1 Filed 02/07/20 Page 34 of 78
(https://web.archive.org/web/20191006133855/http://www.treemedia.com/)(California)


Leila Conners founded Tree Media Group in August 1996. With a background in international politics, Leila set out
to build a production company that creates media to support and sustain civil society by telling inspiring stories.
Currently, Leila is writing and directing We the People 2.0 about nature rights, and directing the short film on
climate, Last Hours. Her longtime project, Into Eden, is about how we can change our society and ourselves in the
face of disintegrative forces that threaten everything from the biosphere to our economic system.


Leila most recently produced a documentary film on the explosion of urban farming in Detroit called Urban Roots.
Leila’s first feature-length documentary, The 11th Hour, was co-created with Leonardo DiCaprio. The film included
54 leading thinkers and scientists about the state of the world and the state of the human condition. She has
written two short films with Leonardo DiCaprio on the environment called Global Warning and Water Planet, and a
feature film script for Ridley Scott’s Scott Free Productions on the state of the oceans. Leila has also been
published in newspapers and magazines around the world including theInternational Herald Tribune, Los Angeles
Times, Yomiuri Shimbun, and Wired Magazine, among others. Projects over the last 10 years with Tree Media
Group include work with the Council on Foreign Relations, NASA, JPL, Norman Lear, Green Cross International,
Harvard University, and Hollywood studios, among others. Her article on “Death and American Culture” was
published in War, Media and Propaganda, published by Rowan and Littlefield.


Prior to Tree Media, Leila was Associate Editor of NPQ/New Perspectives Quarterly, an international journal of
social and political thought, and Associate Editor of Global Viewpoint of the Los Angeles Times Syndicate, an
internationally distributed op-ed column that reaches 200 papers. At NPQ, she interviewed thinkers and policy
makers including: Kofi Annan, Nafis Sadik, Betty Friedan, Hans Bethe, Rigoberta Menchu Tum, and Boutros Boutros
Ghali, among others. She is now Editor-at-Large for NPQ. In 1991, Leila translated Jacques Attali’s book from the
French for Random House entitled, Millennium. Leila is often invited to speak on issues of sustainability and the
environment and has served on panels nationally and internationally.




Josh Fox, Director, Ga
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(New York)

Josh Fox (born 1972) is an American film director and environmental activist, best known for his Oscar-nominated
2010 documentary, Gasland. He followed that up with the HBO production of Gasland Part II, which premiered on
July 8, 2013. In addition to these films, he is one of the most prominent public critics of hydraulic fracturing, also
known as “fracking.” In February 2012 he was arrested during a U.S. House of Representatives subcommittee
hearing on hydraulic fracturing when he attempted to videotape the proceedings. Fox graduated from Columbia
University in 1995.




                                                          34
Karenna Gore, Director,    Center for Earth
               Case 1:20-cv-00067-JPW-MCC      Ethics
                                          Document 30-1 Filed 02/07/20 Page 35 of 78
(https://web.archive.org/web/20191006133855/https://centerforearthethics.or
(New York)

Karenna Gore is the founding director of the Center for Earth Ethics (CEE)at Union Theological Seminary. The
Center for Earth Ethics bridges the worlds of religion, academia, politics and culture as we discern and pursue the
changes that are necessary to stop ecological destruction and create a society that values life. Before founding
CEE, Ms. Gore worked as the director of Union Forum at Union Theological Seminary, where she helped organize
Religions for the Earth, a conference of over 200 religious and spiritual leaders from around the world, with the
goal to reframe climate change as a moral issue and galvanize faith-based activism to address it.


Ms. Gore’s previous experience includes work as a lawyer at Simpson Thacher & Bartlett and in the legal center of
Sanctuary for Families, as well as serving as director of Community Affairs for the Association to Benefit Children
(ABC). She has also worked as a writer and is the author of Lighting the Way: Nine Women Who Changed Modern
America. Ms. Gore is a graduate of Harvard College, Columbia Law School and Union Theological Seminary. She
lives in New York City with her three children and serves on the boards of the Association to Benefit Children
(ABC) and Riverkeeper.




Jerry Greenfield, Co-Founder of Ben & Jerry’s Ice Cream
(https://web.archive.org/web/20191006133855/http://www.benjerry.com/) (Vermont)


Jerry Greenfield and his long-time friend and business partner Ben Cohen are the men behind one of the most
talked about and least conventional success stories in American business. Co-founder of Ben & Jerry’s
Homemade, Inc., Greenfield has helped to build a store front venture into an ice cream and business marvel by
making social responsibility and creative management strengths, rather than weaknesses.


Greenfield was born four days before his future business partner in Brooklyn, New York. He grew up and went to
school in Merrick, Long Island. It was there that he first met Cohen in junior high school. After graduating from
high school with a National Merit Scholarship under his belt, Greenfield enrolled at Oberlin College.


In 1976, he moved in with Cohen and the two decided to pursue their dream of starting a food business together.
They eventually settled on ice cream, and in May 1978, opened Ben & Jerry’s Homemade ice cream parlor in
Burlington, Vermont.


Today a model for American business success, Greenfield and Cohen have been recognized for fostering their
company’s commitment to social responsibility by the Council on Economic Priorities and by the U.S. Small
Business Administration. They have also received the James Beard Humanitarians of the Year and the Peace
Museum’s Community Peacemakers of the Year Awards.

Today, Greenfield’s official title at the company is Co-Founder. He is involved in promoting the social and
environmental initiatives that Ben & Jerry’s undertakes. He is also President of the Ben & Jerry’s Foundation.

                                                         35
Randy Hayes, Founder,            Rainforest Action
                      Case 1:20-cv-00067-JPW-MCC       Network
                                                 Document 30-1 Filed 02/07/20 Page 36 of 78
(https://web.archive.org/web/20191006133855/http://ran.org/)(Washington, D.C.)


Randy Hayes has been described in the Wall Street Journal as “an environmental pit bull.” He is Executive Director
of Foundation Earth, a new organization fostering the big rethink to help protect the planet’s life support systems.
This requires a new human order, including economic models for deep long-term sustainability, earth
jurisprudence, eco-technology policy, biospheric literacy, and environmental health. Hayes calls for a “True Cost
Economy” that accounts for ecological externalities and honors carrying capacity limits. Hayes, a former
filmmaker, is a veteran of many high-visibility corporate accountability campaigns and has advocated for the
rights of indigenous peoples throughout the world. He served for five years as president of the City of San
Francisco Commission on the Environment, and for two-and-a-half years as director of sustainability in the office
of Oakland Mayor Jerry Brown (now governor). Hayes founded Rainforest Action Network and is emeritus on the
board of directors. He is an advocate of general systems theory and deep ecology. As a wilderness lover, Hayes
has hiked and camped in the rainforests of the Amazon, Borneo, Central Africa, Southeast Asia, and Australia, as
well as the High Sierras and the Canadian Rockies.

Hayes has an undergraduate degree from Bowling Green State University and a Master’s degree in Environmental
Planning from San Francisco State University. His master’s thesis, the award-winning filmThe Four Corners, won
the Academy of Motion Picture Arts and Sciences award for “Best Student Documentary” in 1983. He contributed
to Alternatives to Economic Globalization: A Better World is Possible, published by San Francisco: Berrett-Koehler
Publishers, Inc., in 2004. Not satisfied with short-term thinking, his 500-year plan offers a vision of a sustainable
society and how to get there. Randy Hayes was honored by his corporate campaign activists peers in 2008 with
an Individual Achievement Award, given by the Business Ethics Network. In 2010 he was San Francisco State
University’s Alumni of the Year and inducted in the Alumni Hall Fame. Additionally, he was one of the original set
of inductees in the National Environmental Hall of Fame.




Derrick Jensen, Author
(https://web.archive.org/web/20191006133855/http://www.derrickjensen.org/),             Endgame and A
Language Older Than Words (California)

Hailed as the philosopher poet of the environmental movement, Derrick Jensen is author of twenty-two books,
including A Language Older Than Words, The Culture of Make Believe, and Endgame. He was named one of Utne
Reader’s “50 Visionaries Who Are Changing Your World.” His book Thought to Exist in the Wild won the Eric Hoffer
Award and was second place in the Animal category of the Independent Press IPPY Awards. In 2008, he led Press
Action’s “Dynamic Dozen” and in 2006 he was the Press Action Person of the Year. He writes for Orion, Audubon,
and The Sun Magazine, among many others. He holds a degree in creative writing from Eastern Washington
University, a degree in mineral engineering physics from the Colorado School of Mines, and has taught at Eastern
Washington University and Pelican Bay State Prison. He has packed university auditoriums, conferences, and
bookstores across the nation, stirring them with revolutionary spirit.




                                                          36
Jeremy Kagan, Filmmaker (California)
Jeremy Kagan is an internationally recognized director/writer/producer of feature films and television, and a
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tenured professor. Some of his feature credits include the box-office hits HEROES, the political thriller THE BIG FIX,
THE CHOSEN from Chaim Potok’s classic novel (2 time Grand Prize winner),and THE JOURNEY OF NATTY GANN
(Gold Prize Moscow Film Festival). Among his many television shows areKATHERINE: the Making of an American
Revolutionary, and HBO’s CONSPIRACY: THE TRIAL OF THE CHICAGO 8 (ACE Award for Best Dramatic Special). His
film ROSWELL,THE UFO CONSPIRACY garnered a Golden Globe nomination and he directed the pilot for the
popular series DR. QUINN: MEDICINE WOMAN. Other television films include, for Showtime COLOR OF JUSTICE
about racism, BOBBIE’S GIRL about a lesbian couple, and CROWN HEIGHTS about the 1991 riots in Brooklyn which
won the NAACP Outstanding Television Movie Award and the Humanitas Award for “affirming the dignity of every
person.” Kagan has won an EMMY for Dramatic Series Directing, and directed West Wing and Steven Spielberg’s
Taken. He has made films for The Doe Fund, which is the most successful program in America helping the
homeless, for The Bioneers which organizes leaders in ecology and social justice, and TreePeople. Professor Kagan
teaches graduate courses at the University of Southern California in directing, and has created the Change Making
Media Lab, which has made projects on cancer prevention, obesity and ADHD. Kagan has served as the Artistic
Director of Robert Redford’s Sundance Institute, serves on the National Board of the Directors Guild, and is
Chairperson of its Special Projects serving its 15,000 members. His books DIRECTORS CLOSE UP, Vol. 1 & 2, are
published by Scarecrow Press. A Graduate Fellow of the American Film Institute, he has an M.F.A. from NYU and a
B.A. from Harvard University. He has taught master seminars on filmmaking in Hong Kong, Hamburg, Hanoi,
France, Lebanon, Israel, Ireland and India, and written an ebook on his near death experience called MY DEATH: A
Personal Guidebook. He and his wife Anneke Campbell have made videos for the Community Environmental Legal
Defense Fund.




Winona LaDuke, White earth reservation anishinaabe akiing
(https://web.archive.org/web/20191006133855/http://whiteearth.com/)


Winona LaDuke is an Anishinaabekwe (Ojibwe) enrolled member of the Mississippi Band Anishinaabeg who lives
and works on the White Earth Reservations, and is the mother of three children. She is also the Executive Director
of Honor the Earth, where she works on a national level to advocate, raise public support, and create funding for
frontline native environmental groups. In 1994, Winona was nominated by Timemagazine as one of America’s
fifty most promising leaders under forty years of age. She was awarded the Thomas Merton Award in 1996, the
BIHA Community Service Award in 1997, the Ann Bancroft Award for Women’s Leadership Fellowship, and the
Reebok Human Rights Award with which she began the White Earth Land Recovery Project. A graduate of
Harvard and Antioch Universities, Winona has written extensively on Native American and environmental issues.
She is a former board member of Greenpeace USA and serves as co-chair of the Indigenous Women’s Network, a
North American and Pacific indigenous women’s organization. In 1998, Ms. Magazine named her Woman of the
Year for her work with Honor the Earth. She is the author of six books, including The Militarization of Indian
Country (2011), Recovering the Sacred: the Power of Naming and Claiming (2005), the non-fiction book All our
Relations: Native Struggles for Land and Life (1999, South End Press), and a novel – Last Standing Woman (1997,
Voyager Press).




Jules Lobel, Former President, Center for Constitutional Rights
(https://web.archive.org/web/20191006133855/http:/37
                                                   /ccrjustice.org/)
Professor Jules Lobel is the Bessie McKee Wathour Endowed Chair at the University of Pittsburgh School of Law.
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Lobel co-authored the award winning book Less Safe, Less Free: Why America is Losing the War on Terror (2007),
with Professor David Cole, which won the first Roy C. Palmer Civil Liberties Prize for exemplary scholarship
exploring the tension between civil liberties and national security. He is also the author of Success without Victory:
Lost Legal Battles and the Long Road to Justice in America (2003), and editor of several books on civil rights
litigation as well as the U.S. Constitution.


He has authored numerous articles on international and constitutional law in publications including Yale Law
Journal, Harvard International Law Journal, Cornell Law Review, University of Pennsylvania Law Reviewand Virginia
Law Review. Lobel’s article, Preventive Paradigm and the Perils of Ad Hoc Balancing, was selected by Oxford
University Press as one of the Top Ten Global Justice Law Review Articles in 2007.


Lobel is the recipient of the University of Pittsburgh Chancellor’s Distinguished Public Service Award (2002), and
the Chancellor’s Distinguished Teaching Award (1993). In 2006, he received the Allegheny County Bar
Foundation’s Career Achievement Award for Pro Bono Service, and in 2001 he was named by the School of Law as
a Distinguished Faculty Scholar.

Lobel has also testified on various occasions before Congressional committees, most recently on the issue of the
constitutional allocation of war powers before a subcommittee of the House of Representatives Foreign Affairs
Committee. He advised the Nicaraguan government on the development of its constitution, and has also advised
the Burundi government on constitutional law issues. He has participated in various human rights delegations
abroad, including being named the sole U.S. participant in a delegation consisting of prominent European former
diplomats and human rights scholars to Israel.


Lobel is former President of the Center for Constitutional Rights, a national human and constitutional rights
organization headquartered in New York City. He has litigated numerous cases involving Constitutional and
Human Rights issues in United States courts and has represented members of Congress challenging various
Presidents’ – both Democrat and Republican – assertions of executive power to unilaterally initiate warfare. Lobel
has been involved in various cases challenging aspects of U.S. policy toward suspected terrorists, including Rasul
v. Bush, arguing for habeas corpus rights for Guantanamo detainees, Arar v. Ashcroft, seeking damages for a
Canadian citizen who alleged that he was wrongfully rendered to Syria to be tortured by high U.S. officials, and
Holder v. HLP, a Supreme Court case challenging aspects of the material aid to terrorism statute as violative of the
First Amendment. In all of these cases, Lobel involved his students in the litigation, giving them firsthand
exposure to the constitutional litigation of important and complex issues.




John Olivas, Environmental Activist/Organizer; Executive Director, Collaborative
Visions
(https://web.archive.org/web/20191006133855/http://ourmora.org/visit-
mora/local-resources/collaborative-visions/) (New Mexico)

John Olivas is the Executive Director of Collaborative Visions in Mora, New Mexico. He organizes cooperatives to
establish local sustainable economic development entrepreneurs
                                                          38       in his community. He also spends some of his
time as a grassroots organizer/activist working to conserve federally owned public land as Wilderness or other
conservation measure. In 2013 he was part of a coalition that led the effort to create the Rio Grande Del Norte
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National Monument which includes the Rio Grande Gorge in Taos County, New Mexico. John is currently working
with a coalition to expand the Pecos Wilderness in north central New Mexico within the Santa Fe and Carson
national Forests.


From January 1, 2010 – December 31, 2014 John sat on the board of the Mora County Commission. As Chairman,
John Championed the first county wide fracking ban. At the time, it was the first countywide fracking ban in the
United States banning industry from oil gas extraction within its borders. In late 2014 the ordinance was
challenged in federal district court and ruled invalid. A new county commission came in and repealed the
ordinance in early 2015.




Jim Sheehan, Founder, Center for Justice
(https://web.archive.org/web/20191006133855/http://www.cforjustice.org/)(Spokane,                   Washington)

Jim Sheehan graduated from Santa Clara University in 1966. He then served for three years as an officer in the
United States Army, attended Gonzaga Law School, and worked for more than twenty years as a public defender
in Eastern and Western Washington until he received a windfall inheritance. He decided that, in this next
unexpected chapter of his life, he would put his money to work for the greater good. In 1999, he founded the
Center for Justice, a nonprofit law firm dedicated to protecting human rights, alleviating poverty, preserving the
earth, and holding the government accountable to the principles of democracy. In addition, he also restored the
old Saranac Hotel in downtown Spokane, which became the first LEED Platinum certified building in the region.
Additionally, he renovated the Community Building, the Main Market Co-op, and the Saranac Commons in order
to provide affordable, beautiful homes for area nonprofit offices and small businesses in downtown Spokane.
Despite all these accomplishments, Jim feels most lucky to have a healthy, supportive family, including his
daughter Katy, his son Joe, and his partner Mary.




Douglas Shields, President & Member, Pittsburgh City Council
(https://web.archive.org/web/20191006133855/http://pittsburghpa.gov/council/)(2004-2011)


During his tenure on Pittsburgh’s City Council as a staffer and Member (1992-2011), he was recognized for his
expertise on government financing, land use and zoning, legislative writing ability, and taking on social issues few
others would.


He introduced and enacted laws on matters such as domestic violence within the city police force, prevailing
wages for service workers on city funded projects, protection from harassment at women’s reproductive health
facilities, reporting of lost/stolen firearms, and an LGBT registry to help facilitate same-sex benefits for the private
sector.


In August 2010, he introduced a CELDF-drafted Community Rights Ordinance in the Council. On November 16,
2010, with a unanimous 9-0 vote, it became law, banning shale gas drilling in Pittsburgh – the first place in the
world to do so.                                       39
Today, Doug is a consultant, an adjunct professor, and a dedicated activist in the fight to move away from fossil
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fuels to sustainable energy. He’s also appeared in Josh Fox’s films, The Sky Is Pink and Gasland Part II.




John Stauber, Founder, Center for Media and Democracy
(https://web.archive.org/web/20191006133855/http://www.prwatch.org/books/tsigfy.html)
(Wisconsin)

John Stauber has worked for over forty years as an independent organizer, investigative writer, author, and
democracy activist. In 1993, Stauber created the Center for Media and Democracy (CMD) to expose the business
of organized propaganda. He ran CMD for 16 years raising funding for the organization, hiring and managing staff,
editing and writing hundreds of articles, and co-authoring six books. John now lives off-the-grid in Wisconsin’s
sublime Driftless Region clinging to his Green Bay Packer tickets and passport, addicted to his digital devices, and
enjoying his chainsaw, sauna, and sea kayak.




Bill Twist, President, The Pachamama Alliance
(https://web.archive.org/web/20191006133855/http://www.pachamama.org/)(California)


Bill Twist is a co-founder of The Pachamama Alliance (TPA) and its President since TPA’s inception in 1996. TPA is
a non-profit organization based in San Francisco, USA, that works on rainforest preservation and indigenous rights
in the western Amazon basin and also on global social transformation. TPA is the creator of the Awakening the
Dreamer Symposium and the UP to US Initiative, both global efforts to bring about a socially just, environmentally
sustainable, spiritually fulfilled human presence on this planet. Bill has also been active in international efforts to
build a Rights of Nature movement and currently serves on the steering council of the Global Alliance for the
Rights of Nature.


Bill has a background in business, having worked in management consulting and later in the financial services and
investment banking fields from 1969 until 1995. Bill has a bachelor’s degree in engineering from Stanford
University and a Master’s degree in business administration from Northwestern University.

Posted on August 4, 2015 (https://web.archive.org/web/20191006133855/https://celdf.org/about-            Print this page
celdf/celdf-board-staff/) Updated on August 8, 2019
(https://web.archive.org/web/20191006133855/https://celdf.org/about-celdf/celdf-board-staff/)




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                                         Exhibit O
                                         CELDF (https://celdf.org/)

Contact

                                            If your community needs help, please contact us now.




Main Office
Community Environmental Legal Defense Fund
P.O. Box 360
Mercersburg, PA 17236

(717) 498-0054

info@celdf.org




Press Contact
Mari Margil
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Mari Margil, Associate Director: mmargil@celdf.org (mailto:mmargil@celdf.org) and 717-498-0054


Ben Price, National Organizing Director: benprice@celdf.org (mailto:benprice@celdf.org) and 717-254-3233

Kai Huschke, Northwest and Hawaii Organizer: kai@celdf.org (mailto:kai@celdf.org) and 509-607-5034


https://celdf.org/about-celdf/contact/                                                                   Page 1 of 2

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Contact | CELDF     Case 1:20-cv-00067-JPW-MCC Document 30-1 Filed 02/07/20 Page 42 of 78            12/9/19, 9'43 PM



Chad Nicholson, Pennsylvania Organizer: chad@celdf.org (mailto:chad@celdf.org) and 207-541-3649

Tish O’Dell, Ohio Organizer: tish@celdf.org (mailto:tish@celdf.org) and 440-838-5272


Michelle Sanborn, New Hampshire Organizer: michelle@celdf.org (mailto:michelle@celdf.org) and 603-524-
2468

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Exhibit P




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Exhibit Q
 Board Conference Call 10/29/19
 Attending: Dan, Thomas, Fred, Ed, Tammy, Stacey
 Agenda
    1. Retain Cheshire
    2. May 14th Resolution amendment vote – remove 3-6, amend 8
    3. Appoint ED – Dan


 Tammy – for minutes, state that the Cheshire Law group has given advice that the
 appointments by Stacey were not valid. Cheshire has not been hired by the board, just talked
 to CELDF. Gave them a $5k retainer – less than $1,500 spent thus far.
 Fred – should we hire them to represent the board/organization?
 Tammy – this is the way they put it, that they would work for the organization. This is there
 area of expertise. Karen Hoffman found them. They are perfectly qualified.
 Fred – will we need them when and if we move forward
 Tammy – this is on the agenda tonight. Also on the agenda is resolution for Thomas to leave
 organization.
 Fred – what all will they do? If we have a question, we take it them if we can’t resolve?
 Tammy – severance – interest is that it be transparent – having a 3rd party look at it will help
 with the stability of the process.
 Fred – who will negotiate with severance
 Tammy – Dan to serve temporarily as ED and the ED could do some of this work. Cheshire
 wants every board member input. Cheshire wants each of the boards signatures, not sure
 what they were told to make them do this.
 Fred – severance approved by the board and then Cheshire to say it is legal, etc
 Tammy – they can give advice on whether or not it is legal. The purpose is to get their advice,
 but we can disagree with their advice. We will have this issue with the bylaws too. Governing
 an organization by committee may not be okay under PA law. We have intended to do this, but
 there is a question as to whether or not this is legal under PA law. Still governed by committee
 unless it is not allowed by law. We will need assistance to help us do that.
 Fred – we all agree that we want celdf to survive
 Tammy – absolutely
 Tammy – what to tackle first, Agree to hire Cheshire. Circulate the letter for them to sign via
 electronic signature.
 Fred – agree with Cheshire representing celdf
 Tammy – all to sign electronically and respond – check to see if they are okay if it comes
 separately or if all signatures need to be on one document.



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Vote to retain Cheshire – Motion by Fred to hire Cheshire to represent CELDF and board – Ed
2nd , all in favor.
Prosed resolution to temporarily appoint Dan as ED
Fred – how long? 14 months, with EC?
Tammy – yes, both there
Fred – he is already on the EC?
Tammy – yes, ED, Nat Org Dirc, Comm Dire, Admin Dire, Asso Dire
Fred – question – can a committee run instead of appointing Dan? Can we ask Cheshire first?
Before appointing him?
Tammy – good question. Some things have already come up concerning this. Thomas flagged a
potential problem with the law.
Thomas – specifically, committees have to have a BOD member on the committee. Only the ED
can make binding decisions. Specific section dealing with committees established by the
board.
Tammy – having an ED could solve this problem?
Tal – maybe, EC is advisory to the degree that the board wants, binding with ED and then
presents to the board
Fred – take Dan off of EC, and appoint Board member to the committee
Tal – not necessarily needed, b/c the EC would have to need board approval anyway. Cheshire
is needed to navigate this. ED is the direction we need to travel.
Tammy – The ED is where the buck stops and without that then the committee is not lawful
unless there is a board member on the committee to be present for binding decisions.
Tal – band aid – EC – advisory only unless there is a board member on the committee and then
the Board ratifies the decisions – difference between governing and managing. Need Cheshire
to look at everything. To be lawful under the nonprofit act, needs to appoint ED to be legal.
Bridge decision – need something in place that comes in alignment and then take the 14
months to bring it closer in alignment.
Fred - Board will have final say over ED, correct?
Tal – final soverign authority over all decisions.
Tammy – do things need to be made more clear? Staff will ask
Fred – yes, for those of us who are not attorneys and who have not read the nonprofit code
Tammy – clause in here about the board being engaged in substantive issues or as needed?
Does it help guide over the next 14 months? Example: administrative decision made that the
EC would give the ED guidance?
Dan – Recent example – Michelle S, NH organizer, express and desire to do work in ME and the
EC considered it and made the decision to approve that request. Managerial decision that the
BOD would not want to be part of. Difference between governance and managerial.




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Appointment of the ED can’t supercede any of the boards authority under the act. Board
asking the EC to deal with the day to day management of the organization. The EC has been
doing this already and that there is a need to have an ED for some things. The recent story
around appointing board members is another example. The way the bylaws are written there
is a question around the secretary can appoint and whether they have to be appointed by the
pool.
Tammy – any other questions? Or anything needed to be added to the resolution?
Fred – I would like to see board members to be approved for a candidate for board members
Tammy – next order of business to deal with this. Do we have to agree on a process, set of
bylaws or both in order to get the board recruitment process going. This may be something
for our next call. We may need Cheshire for this.
Tal – my departure stuff is first. b/c I don’t think these decisions can be made with my
current position.
Tammy – come back to bylaws and structure of organization. Thomas leaving and bylaws.
Fred – makes sense to work on these two together? What happens? Thomas is president of
organization and will he still be president?
Tammy – do you want to be president?
Tal – no, doesn’t want to be president. Memo will deal with both President and Senior Counsel
role departure
Tammy – any other questions about this resolution
Fred – thinks Dan should be the ED over the next 14 months and work with Stacey and board
on issues and the EC would help as well
Dan – that is the idea - idea is to get past Thomas’ departure – work as a whole organization
on what doesn’t the LDF want to look like and do moving forward. The appointment would be
immediate and would not have anything to do with Thomas’ departure. The point is that it is
temporary and to allow an ED act as a bridge between where we are now and where we plan
to get to over the next 14 months.
Fred – willing to stay on as the managing attorney too?
Dan – would be necessary to hire someone from the current attorneys to take over the
managing of the attorneys, can’t do both
Fred – what about after the 14 months
Tammy – 14 months is the bridge – organization put to a test during this time period. Not
telling where things will be in 14 months
Fred – can it be done in 14 months?
Tammy – we will have to work hard to make this happen. Feel that it is a need to say out
loud, not going to discount Stacey’s interest in being ED, not discounting this at all, just need
to stabilize. Would be wholeheartedly in favor of Stacey pursuing career development in this
direction. Anything I can do to correct any bad feelings, perfectly willing to discuss this. Non




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judgmental as well. Don’t judge people and thick skinned. And would like to do whatever we
need to do to fix this.
Fred – timeframe for Thomas’ departure?
Thomas – as soon as humanly possible, with caveaut that Cheshire review separation /
settlement agreement. 3-4 pages, not a lot of moving parts, but big decisions need to be
made
Fred – Back to the question of ED, managing attorney, should the managing attorney be on?
Tammy – what about this?
Dan – as written it is a 5 person committee. The managing attorney would only serve in the
case of the vacancy of the ED. The bylaws require the ED to be an attorney, supervising the
managing attorney and kept up to speed on what the attorneys are doing.
Fred – thought he was on twice, but now I understand
Fred – making a motion to adopt this resolution, Ed 2nd, all in favor
Stacey – sending around via snail mail to all members to get signatures and using today’s date
Tammy – what is the process of dealing with Thomas? Thomas to us first then formulate
questions and then going to the lawfirm?
Tal – finished this week or early next week. Draft settlement agreement to the board for
review and then need to decide if you want a call with me first and then come to the next
draft, then send to Cheshire, their role is to make sure this is legal. Meeting of the minds
between me and the board.
Fred – plain language?
Tal – 4 parts – make sure it is understood, creating a new organization, collaborative, no
disparagement, amicable, celdf honoring on going commitments, part about my
commitments, assisting celdf with the work, resign as pres and senior council, financial
resources from celdf to new organization.
Fred – set a time to meet after seeing the proposal. One problem, Pat and I leave for Cowan’s
gap state park on Friday – no signal zone – 6 weeks. Reception not good. May not get back in a
timely fashion.
Tammy – schedule a time to talk to give enough time for the email and to discuss this
information? Can’t be available until Thursday anyway b/c of the election. Next call –
November
Thomas to have draft out by Friday – Call next Thursday, November 7th at 5pm EST.
Dan – if the board wants me on the call, I’m available.
Board wants him on the call.




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Community Environmental Legal Defense Fund Mail - Conversation wit...           https://mail.google.com/mail/u/0?ik=90434416fb&view=pt&search=all...
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          Exhibit R
                                                                                                   Stacey Schmader <stacey@celdf.org>



          Conversation with Thomas on Monday
          15 messages

          Stacey Schmader <stacey@celdf.org>                                                     Thu, Oct 24, 2019 at 9:30 AM
          To: Fred Walls <lockhartandfriends@gmail.com>, kat walter <kat@volksmail.com>, Dave Leeger
          <daveleeger@hotmail.com>, Edward Wells <ewells@wilson.edu>, Tammy Belinsky <tambel@hughes.net>

           Hello Everyone,

           It is my duty as an officer of this organization to inform you about a conversation that Fred and I had with Thomas on
           Monday. I have excluded Thomas from this email as this information directly pertains to him.

           On Monday, Thomas, Fred and I had a conference call at 7pm EST. Thomas had requested the call to discuss his
           "amicable departure" from the organization. Instead, Thomas chose to open the conversation with a question to Fred
           and I. That question is as follows:

           Why wouldn’t I, given what transpired over the last month and belief celdf is stuck in the mud, why not take the
           exis ng funders and do the work that needs to be done, help Tammy sue the board – burn all of celdf exis ng
           funders? Money question – needs to be sweet enough – cash reserve or existing funders.

           While this quote is from my notes and this not exact, I checked with Fred and he conﬁrmed that this is what he
           heard Thomas say.

           I believe the board needs to know about this as it is a direct threat to the organiza on. The board needs to take
           ac on against this threat by an oﬃcer of CELDF.

           Stacey

           Stacey Schmader
           Financial Officer
           CELDF
           PO Box 360
           Mercersburg, PA 17236
           717-498-0054
           www.celdf.org




           This communication is confidential, and exempt from disclosure, under the attorney-client privilege, the rules of professional
           responsibility, and the work product doctrine, by virtue of this client’s engagement of the Community Environmental Legal
           Defense Fund for legal services and other related services, and the Community Environmental Legal Defense Fund’s use of this
           communication to render those services to the client pursuant to that engagement.


          Edward Wells <ewells@wilson.edu>                                                                    Thu, Oct 24, 2019 at 10:13 AM
          To: Stacey Schmader <stacey@celdf.org>


           Hi Stacey:

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1 of 10                                                                                                                                12/7/2019, 5:22 PM
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Exhibit S
                                               November 6, 2019

 TO: CELDF Board Members Tammy Belinsky, Fred Walls and Ed Wells; Stacey Schmader

 FROM: Malinda Clatterbuck, Simon Davis-Cohen, Will Falk, Karen Hoffmann, Kai Huschke,
      Crystal Jankowski, Kira Kelley, Lisa Kochheiser, Terry Lodge, Markie Miller, Chad
      Nicholson, Tish O'Dell, Ben Price, Michelle Sanborn, Lindsey Schromen-Wawrin

 SUBJECT: CELDF Staff and Attorney recommendations for negotiation of departure agreement
       with Thomas Linzey

 ====================================================================

        We, CELDF staff, organizers and attorneys, state below our positions relative to the
 forthcoming negotiation by CELDF of a proposed departure arrangement with Thomas Linzey, as
 announced in Tammy’s October 31 email to the staff.

        We recommend a slow, deliberative process to negotiate a departure agreement with
 Thomas. The Cheshire firm should have meaningful time to review and advise the Board. The
 Board must not finalize an agreement with Thomas without thorough advice and discussion,
 especially discussion outside of Thomas’s presence. Tammy announced that the Board will
 “consult” with Cheshire Law Group, but the Board should instead authorize Cheshire to
 negotiate on CELDF’s behalf.

         There should be no conflicting roles manifested by Thomas and the Board. All members
 of the Board are enjoined by Article III, § 3 of CELDF’s Bylaws to “avoid the appearance of any
 impropriety or potential conflict of interest” with CELDF as an entity. The Bylaws state that a
 “substantial conflict” is one that “prevents, or seriously interferes with, the exercise of objective
 or impartial decision-making by a Board member.” Thomas is simultaneously CELDF’s
 President, with attendant fiduciary responsibilities, and claims to be counsel to the organization,
 all of which precludes negotiating on his own behalf the financial terms of his departure. Tammy
 is presently acting as some sort of unofficial legal advisor to the Board while also being a
 member of it. Upcoming Board deliberations over any proposal should take place without
 Thomas’ presence, perhaps by invoking the power for the Board to meet in executive session.

         From what we know of Thomas’s intentions through the original May 2019 Resolution,
 he aims to establish a new, competing organization to CELDF, tasked to promote the rights of
 nature and local democracy initiatives. He’s been actively disparaging CELDF and threatening to
 take CELDF donors with him. He attempted to cripple CELDF’s organizing program. He’s been
 organizing with the Florida group since LEBOR passed in February, and is planning a RON
 Conference in February, all with no communication about either to CELDF board or staff
 organizers. It’s not at all clear what good would come from creation of a neo-CELDF
 organization. It would seem to duplicate the existing CELDF mission, fragment and confuse
 existing and potential donors, touch off potentially damaging competition between CELDF and

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neo-CELDF, and confuse citizens we serve who seek organizing and litigation assistance for
democracy building and the rights of nature. CELDF is simply not responsible for supporting or
funding a competitor organization. The Board’s priority obligation is to protect CELDF, not to
provide Thomas with the means of competing head-to-head with CELDF.

        Blessing Thomas’ departure with a cash parachute will possibly contradict the purposes
for which those funds were originally donated to CELDF, which was to achieve certain
organizing and/or litigation aims, not to finance a departure arrangement that reinvents and
rebrands the wheel. The Board may possibly be committing a breach of its fiduciary
responsibilities by even considering such an arrangement. CELDF’s ability to continue to seek
support from its present donors may be seriously crippled by the publicity in the foundation
world of such an agreement. CELDF, not Thomas, would be blamed for violating the spirit
and/or legal, donative intention that came with those contributions.

        Aside from the question of the legality and ethical responsibility to funders, it is
important to remember that the co-founders of CELDF have no personal proprietary claim to the
financial resources or property of the organization. It would seem to violate the board's duties for
the board to treat those resources as if the founders own them, or some portion thereof. A
departure agreement with Thomas might be appropriate, but a deal to split the organization, with
some other significant percentage for Thomas and the rest for everybody else, would be
ludicrously unjust on its face.

        In regards to the upcoming settlement agreement in the Grant case and the ongoing
Pennsylvania disciplinary board hearing against Thomas, given CELDF’s commitment to back
its lawyers, it is still incumbent on the Board to assess the economics and set aside monetary
resources to cover that obligation. The Board must work with Cheshire (or other independent
legal counsel) to be given a complete understanding of what is financially at stake for CELDF,
what specific items would be paid by CELDF, and what say CELDF has in any proposed
resolution of it. The Board also must acquire a thorough understanding of what is at stake for
CELDF because CELDF’s image may also suffer when the expected sanctions resolution
becomes public knowledge. The likelihood of public discipline of Thomas also must be assessed
because that relationship between CELDF and Thomas could continue for some time to come
and may involve a trial-type process and the expense certainly must be identified (and the
possibilities should have been identified and money earmarked and budgeted before now).

       In this instance, as well as throughout this process, the Board and the organization should
hold Thomas to the same standards as any staff member, officer, contract employee, or client.
CELDF must respect the autonomy of each contributor to the community rights movement. This
means supporting each other with care and deliberation wherever possible, but ultimately
allowing each of us to embrace the risks inherent in meaningful organizing.

        There must be language in the departure arrangement covering future solicitation of
existing and prospective donors, particularly if there is no restriction on Thomas’ taking donors
with him. Those terms should include detailed disclosure by Thomas, in writing, of what contacts

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he has already made with CELDF donors, including any electronic or other communications he
has made. The Board must have a comprehensive understanding of whether disparagement of
CELDF may have already taken place. CELDF would gain nothing from a proposal that places
no limitation, by time or identity, on donors Thomas may solicit. If there is no protection of
funding sources to which CELDF may lay claim, essentially unrestricted competition between
the organizations is clearly contemplated and that should be a factor in deciding how much
compensation Thomas is owed for his departure. Any agreement in which CELDF pays a large
sum to Thomas in exchange for no guarantees would be a sham agreement, and a sham
agreement would have implications for the adequacy of the Board’s discharge of its fiduciary
responsibilities.

       The Board has the power to remove Thomas from his officer role as President and to also
end Thomas’ employment. Doing so would impose effectively no limits on Thomas, if he wishes
to compete with CELDF, so there is certainly good cause to consider an agreed departure. But
any agreement with Thomas should provide more benefit to CELDF than what CELDF would
achieve if he were simply dismissed by the Board. Certainly, an agreed departure should not be
worse for CELDF; that defeats the entire purpose of negotiating.

       It bears noting that there is no bylaw authority for any departure proposal. Even assuming
some arrangement is desirable from the standpoint of CELDF, we are very concerned that the
continued existence of CELDF might well be at stake in negotiations, due to previous comments
made by Thomas to Stacey and other staff, and that its importance may be downplayed. CELDF’s
ongoing relevance militates in favor of cautious Board deliberations with the full participation of
independent counsel retained by CELDF.

         And CELDF staff should be informed of the deliberations as they proceed. Despite
considerable turmoil caused to CELDF by this too-prolonged parting of the ways, the work of the
organization continues to get done, and will be ongoing. The hands of the organizers must be
“untied” to include the ability to work with existing and new communities as CELDF’s
interaction with its many citizen communities must remain as the utmost focus and priority for
the Board. Ironically, after the whole staff agreed to no new organizing last fall (a proposal that
Thomas made), Thomas appears to be the only staff person who has violated that organizational
policy with his new work in Florida. The staff must have, at the very least, assurances of stopgap
budgeting for 2020, including money dedicated to legal/organizing in the core states, as well as
litigation.

        We request commitment by the Board to recurring meetings with the staff to discuss the
status of negotiations. The Board and Thomas should agree that the terms of Thomas’ departure
will not be resolved in a week, or even, possibly, within a month. We urge the Board, with active
leadership from Cheshire, to take the time to reach an agreement that protects CELDF’s interests,
not only Thomas.’ The Board should not discuss any terms with Thomas and should promptly
authorize Cheshire to negotiate his departure.



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                                                                                                       Concerns
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 Exhibit T
                                                                                                            Michelle Sanborn <michelle@celdf.org>



  Attorney and Staff Concerns
  Kira Kelley <kakelley436@gmail.com>                                                                      Tue, Nov 12, 2019 at 9:25 AM
  To: lockhartandfriends@gmail.com, Edward Wells <ewells@wilson.edu>, Tammy Belinsky <tambel@hughes.net>, Malinda Clatterbuck
  <malinda@celdf.org>, Will Falk <falkwilt@gmail.com>, Terry Lodge <tjlodge50@yahoo.com>, Karen Hoffmann <karen@syrenalaw.com>,
  Tish O'Dell <tish@celdf.org>, Chad Nicholson <chad@celdf.org>, Michelle Sanborn <michelle@celdf.org>, Lisa Kochheiser
  <lisa@celdf.org>

    Hello CELDF Board of Directors,

    The attorneys and staff who signed the letter sent to you on November 6th remain concerned about the considerable risks that Thomas's departure and
    surrounding negotiations might pose to the rules of law and ethics. Lack of transparency over the past year surrounding leadership transitions and
    governing structure has sown mistrust into our relationships with each other. We believe fervently in the movements we're building and in the theory
    of change that this organization advances. Let's apply those principles, of relationship-building and bottom-up leadership, of making fully informed
    decisions based on compassion and logic, and of putting the needs of the community above all else. Assuming that this letter will be discussed at the
    next board meeting, will you let those who signed it know when you will be meeting so that we may participate in this conversation?

    With gratitude for your commitment to the work we do.

    Kira Kelley, Malinda Clatterbuck, Will Falk, Karen Hoffmann, Lisa Kochheiser, Chad Nicholson, Tish O'Dell, Michelle Sanborn, Terry Lodge




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Exhibit U
                      BOARD STATEMENT OF NOVEMBER 22, 2019
                     Community Environmental Legal Defense Fund, Inc.


 After struggling to resolve various organizational and management issues which have plagued
 CELDF, CELDF’s Board of Directors unanimously voted to initiate dissolution proceedings
 under Pennsylvania law to dissolve the nonprofit corporation, at a board meeting held on
 November 20, 2019. The dissolution resolution envisions that some of CELDF’s assets,
 remaining after its debts and obligations are satisfied, may be distributed to support the work of
 the National and State-based Community Rights Networks (CRN’s).
 Since May 2019, a significant portion of the staff have worked to defeat efforts by the Board to
 reach an agreement with departing co-founder, Thomas Linzey. Such an agreement would have
 allowed for an amicable departure and continued operation of CELDF. The Board considered the
 cost of such an agreement the cost of goodwill. Without that agreement, there is no goodwill and
 it is the Board’s belief that CELDF simply cannot survive the consequences. Combined with
 other organizational and management issues, it is the Board’s conclusion that dissolution of
 CELDF and the reinvigoration of the CRN’s is in the best interest of the organization.
 Dan Brannen, who tendered a resignation from the ED position at the Board meeting, has now
 had time to see the Board’s Resolution, to which he was not privy beforehand. Because he finds
 the Resolution to be a reasonable plan under CELDF’s unfortunate circumstances, he has
 reconsidered and now agreed to serve as both the Managing Attorney and the ED through the
 dissolution process. The Board also decided that Thomas Linzey will continue to serve as
 General Counsel through December 31, 2019, to assist the Board and Dan with the dissolution
 process.
 The Board is committed to distributing assets to the CRN’s as soon as possible so that organizing
 work may continue. Addressing CELDF’s outstanding litigation commitments will take more
 thought and planning, as the dissolution process unfolds.
 Now that the Board of Directors has initiated dissolution for the nonprofit corporation, no new
 debts or obligations may be incurred by the organization. This means that no new representation
 or engagement agreements will be entered into, and no new fundraising can occur that commits
 CELDF to doing new work.
 The Board will be taking further actions over the coming months to effectuate the dissolution
 process.


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Gmail - Cheshire-Brannen email exchange                                                                                        12/6/19, 9(52 AM

     Exhibit V
    Subject: Fwd: Re: CELDF - authority re court review
    To: Stacey Schmader <stacey@celdf.org>



    Hello Stacey-- Here is the whole thread. The portion with the 5 points is in the middle.

    I consider emails with Cheshire to be privileged communications, so I am not sending them to Thomas, who is on the
    other side of this deal. I would appreciate you treating them as privileged too.

    Thank you. --Dan

    -------- Forwarded Message --------
    Subject:Re: CELDF - authority re court review
        Date:Tue, 12 Nov 2019 13:03:31 -0700
       From:Daniel E Brannen Jr <dbrannen@brannenlawllc.com>
           To:Morgen Cheshire <morgen@cheshirenonprofitlaw.com>
           CC:Lisa Muench <lisa@cheshirenonprofitlaw.com>, Tammy Belinsky <tambel@hughes.net>,
               lockhartandfriends@gmail.com <lockhartandfriends@gmail.com>, ewells@wilson.edu <ewells@wilson.edu>


    Hello Morgen-- Thank you for the clarification on the AG issue. As you know, if CELDF requests the AG opinion,
    makes the transfer, and then later gets a negative opinion, that would be a mess for CELDF. I will speak with the
    Board about this.

    On the Orhpan's Court issue, you are not saying CELDF needs Court approval currently, correct? You are saying, if
    there are any gifts to CELDF documented in writing now, to take place in the future, when that future arrives, CELDF
    might have to get approval to get those gifts?

    Thank you. --Dan

    On the On 11/12/2019 11:34 AM, Morgen Cheshire wrote:

            Dan,



            Sorry for the negative inference – I certainly didn’t intend to insinuate that you would not have us do due
            diligence, or that the Board would not follow the steps outlined below.



            To address your question, yes, it is our opinion and recommendation that in order to meet its fiduciary
            duties, CELDF’s Board must at the very least write to the AG’s office requesting a letter of non-
            objection. I think the circumstances here compel it and that the Board would be putting CELDF at more
            risk (and the Board would be breaching its fiduciary duties) if it did not so request it. Whether CELDF
            receives that letter of non-objection before the transfer is made is a different matter. As I noted, the
            timing issues can be explained to the AG. I hear what you are saying about CELDF’s reputation and its
            exposure, but failure to disclose the transfer to the AG would only heighten that risk if the AG were to be
            informed about the transfer through some other source (e.g., if the lawyers for CELDF were to file a
            report and oppose the transfer and the AG were to open an investigation).



            As we explained on our call, based on the authority below, the law actually requires CELDF to obtain
            Orphans’ Court approval (and not AG approval) before making the transfer in order to preserve certain
            rights to future bequests, gifts and grants, but as we explained, in lieu of obtaining court approval, we
            believe that the Board may responsibly fulfill its compliance obligations at this time by writing to the AG’s

https://mail.google.com/mail/u/0?ik=f62a2cce54&view=pt&search=…g-a%3Ar-5302787810055244792&simpl=msg-f%3A1651006819188399372       Page 2 of 14

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Gmail - Cheshire-Brannen email exchange                                                                                        12/6/19, 9(52 AM



            office to explain the situation and the legal basis for the proposed transfer, and to request a letter of non-
            objection on the basis discussed below (and providing the requisite substantiation) – this would help the
            Board to fulfill its duties as close to the letter of the law as possible without incurring the time and
            expense that court approval would require. As I explained on our Friday call, requesting the AG’s letter
            of non-objection would be the first step to obtaining court approval anyway, and this approach of writing
            to the AG is a commonly accepted convention in PA, especially when there is a credible basis for
            arguing that a proposed transfer is not a diversion of property committed to charitable purposes for
            which they were granted.



            I cannot advise, even in the face of the risks that you propose, that the Board members would be
            fulfilling their duties as fiduciaries if they proceed without notifying the AG of their proposed solution. In
            doing so, under the present facts and circumstances, I think they would put CELDF at more risk by
            failing to communicate with the AG’s office.



            I hope this is helpful, good luck with your meeting this evening and let us know how you’d like to
            proceed and if we can do anything more to assist with next steps.



            Morgen



            MORGEN CHESHIRE | ESQ




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                        Philadelphia, PA 19144

                        267-331-4157 ext 104

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            not the intended recipient, please reply to this message to notify me that you believe that you received this


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Gmail - Cheshire-Brannen email exchange                                                                                        12/6/19, 9(52 AM



            message in error, then delete it without reading it or forwarding it to others. Thank you.




            From: Daniel E Brannen Jr <dbrannen@brannenlawllc.com>
            Sent: Tuesday, November 12, 2019 11:16 AM
            To: Morgen Cheshire <morgen@cheshirenonprofitlaw.com>
            Cc: Lisa Muench <lisa@cheshirenonprofitlaw.com>; Tammy Belinsky <tambel@hughes.net>;
            lockhartandfriends@gmail.com; ewells@wilson.edu
            Subject: Re: CELDF - authority re court review



            Hello Morgen-- You and I seem to be having communication issues. As your firm repeatedly seems to
            insinuate (in your email below and on our call last week) that I am asking you to write an opinion letter
            for Thomas' proposed agreement without anything else. I am not.



            On our call last week, you said that your firm's conditions for writing an opinion letter included: (1)
            transfer must be to a 501(c)(3) or fiscal sponsor; (2) full disclosure to you and the Board of CELDF's
            financial position; (3) full disclosure to you and the Board of donor letters to be sure there are no
            restrictions that would prevent transfer; (4) the Board making its own determination of whether the
            proposed deal is in CELDF's best interests based on all the information available to it. I will be speaking
            with the Board today about these issues, and I imagine they will be entirely acceptable to the Board.



            Your final condition was: (5) that CELDF ask the AG for an opinion. I am asking only whether your firm
            absolutely requires this condition for you eventually opine that the Board, if it does everything else
            above, has satisfied its fiduciary duties. Please understand a couple of things. First, CELDF is a
            politically controversial entity in PA. The AG has sued townships to overturn laws CELDF helped with.
            There is a political risk that asking the AG for an opinion letter about CELDF could backfire for CELDF,
            and be turned into a political opportunity for the State to make trouble for an entity that is unpopular with
            the State. I cannot recommend this step to the Board based on what you have said so far, that it might
            be advisable, but is not absolutely legally required.



            Second, you said the AG might never respond to a request for an opinion. CELDF is imploding. Lawyers
            abandoned a Retreat. Staff sent a letter to the Board asking the Board to consider firing Thomas. This is
            insubordination. The Board and I are trying to find a way to save CELDF, despite the implosion and
            insubordination. Time is a factor here, not because we are trying to push something through for Thomas,
            but because we are trying to avoid extreme solutions that we might eventually have to consider if we
            cannot stabilize in the very near term.



            I have a meeting with the Board today at 6pm eastern. If you can respond to this email before then, we
            will have the information we need to consider next steps.



            Thank you. --Dan



            On 11/11/2019 9:00 PM, Morgen Cheshire wrote:

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                     Hello Dan,



                     If you are asking our Firm to write an opinion letter that advises CELDF’s Board that AG
                     approval is not necessary, I am not sure that we can opine on that issue in a way that will
                     ultimately be helpful to CELDF and its Board, either as an effective shortcut or expense-
                     saving measure. An opinion letter could not be issued by our Firm without us first doing
                     more due diligence. Additionally, the letter would have to provide a significant number of
                     caveats. For this reason, writing an opinion letter would be considerably more expensive
                     than would our drafting a letter to the AG. By writing to the AG, CELDF and its Board
                     could significantly minimize its risk; conversely, by bypassing this step, CELDF and its
                     Board increase the risk exposure (even if legal counsel drafts an opinion letter because an
                     opinion letter is not an appropriate substitute for AG/court review if it is determined by the
                     AG/court that the AG/court should have been given the opportunity to review the
                     transaction). For these reasons, we believe the Board is very likely better off simply having
                     us write to the AG disclosing CELDF’s position that the transfer ought to be approved and
                     requesting a letter of non-objection.



                     Keep in mind, too, that this proposed transaction could ultimately also be viewed as a
                     division, which is another variety of a fundamental transaction that requires review and
                     approval. The failure to obtain this review could have hidden implications for future gifts
                     and grants to the organizations; and the cost of resolving those issues in the future would
                     be much higher if AG approval is not obtained now.



                     At this present time, even if we assume the facts that you have presented are true, we are
                     not in a position to draw the conclusion that AG (and court) review is not required. As I
                     mentioned above, this transaction could be construed as a division, and the analysis is not
                     as simple as it seems it should be, as you suggest below.



                     To respond to your first statement below - while a transfer of funds to another 501(c)(3)
                     would presumably be for a charitable purpose, that’s not the current proposal on the table.
                     The new organization referenced in the draft agreement does not yet have its (c)(3)
                     status, nor has it even been incorporated. Even if it did have its (c)(3) status (or used a
                     fiscal sponsor to accept the funds in the interim), the analysis would not end there, as Lisa
                     and I explained on our Friday call. The documents and correspondence accompanying
                     the grants or gifts of funds to CELDF would all have to be reviewed so that CELDF can
                     establish for the record that the funds were in fact transferrable and any restrictions would
                     have to be addressed, and CELDF itself would have to set certain parameters or
                     restrictions on the funds to help ensure that the funds would be used for the charitable
                     purposes for which they were originally committed to CELDF.



                     Second, to opine on the issue of the amount also requires more inquiry. I would not feel
                     comfortable looking simply at the assets without also considering: 1) the substantiation for
                     the amounts; 2) CELDF’s liabilities that would remain with CELDF (as well as CELDF’s
                     anticipated future liabilities as a result of the transfer); 3) whether goodwill is in fact being
                     transferred under the circumstances here; and 4) the transfer of any of CELDF’s other
                     non-cash assets (such as funder relationships, contacts, and mailing lists, etc.).




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                     Timing concerns aside, which can be addressed in correspondence with the AG, we see
                     no real downside for CELDF (and its Board) to write to the AG’s office seeking a letter of
                     non-objection.



                     Morgen

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                     From: Daniel E Brannen Jr <dbrannen@brannenlawllc.com>
                     Sent: Monday, November 11, 2019 4:26 PM
                     To: Morgen Cheshire <morgen@cheshirenonprofitlaw.com>
                     Cc: Lisa Muench <lisa@cheshirenonprofitlaw.com>
                     Subject: Re: CELDF - authority re court review



                     Hello Morgen-- I am a bit confused now. First, transfering funds to a 501(c)(3) is clearly for
                     a charitable purpose.




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                     Second, "All or substantially all" must at a minimum mean more than half, and likely
                     means well more than half. There is no possible rationale for less than half to be
                     substantially all. In this case, CELDF would be transfering less then 30 %. CELDF is not
                     transfering any good will at all. Thomas is departing, CELDF is not responsible for that.



                     Given this, is requesting an AG opinion that might never come through, and thus might
                     never allow for release of the funds, an absolute requirement for your involvement? --Dan



                     On 11/11/2019 10:21 AM, Morgen Cheshire wrote:

                             Dan,



                             Good to talk with you, too. Following up on your request below, see below
                             for authority on the issue we raised on our Friday call. CELDF would want to
                             argue that it is not transferring “substantially all” of its assets, nor “diverting
                             [assets] from charitable purposes,” and it should lay that position out in a
                             letter to the Office of the Attorney General, explaining its reasoning and
                             explaining this as the basis for why court review is unnecessary – and it
                             should request that the AG’s office issue a letter of non-objection.



                             The Office of Attorney General and the PA courts interpreting the statutory
                             language below have taken a very broad view of what the phrase
                             “committed to charitable purposes” means, and because “substantially all”
                             has not been clearly defined in case law and can be a subjective measure
                             (e.g., assets can include good will and relationships, etc., which are
                             exceptionally hard to value), I would certainly not advise CELDF to proceed
                             on counsel’s review alone (especially not with the probable staff opposition
                             that CELDF faces). Going through the Board review process as counsel
                             advises, and having counsel review the transaction, and also requesting a
                             non-objection letter from the AG, will be critical if CELDF wishes to proceed
                             on solid legal footing and without court approval. Failure to do so could lead
                             to more legal costs, reputational risk, personal liability for Board members,
                             and disputes about the efficacy of future bequests and gifts. See below for
                             relevant extracts from PA’s Nonprofit Corporation Law.



                             I am happy to discuss this further once you have had a chance to review.



                             Morgen




                             § 5547. Authority to take and hold trust property.

                                  (a) General rule.--Every nonprofit corporation incorporated for a
                             charitable purpose or purposes may take, receive and hold such real and

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                             personal property as may be given, devised to, or otherwise vested in such
                             corporation, in trust, for the purpose or purposes set forth in its articles. The
                             board of directors or other body of the corporation shall, as trustees of such
                             property, be held to the same degree of responsibility and accountability as
                             if not incorporated, unless a less degree or a particular degree of
                             responsibility and accountability is prescribed in the trust instrument, or
                             unless the board of directors or such other body remain under the control of
                             the members of the corporation or third persons who retain the right to
                             direct, and do direct, the actions of the board or other body as to the use of
                             the trust property from time to time.

                                  (b) Nondiversion of certain property.--Property committed to
                             charitable purposes shall not, by any proceeding under
                             Chapter 59 (relating to fundamental changes) or otherwise,
                             be diverted from the objects to which it was donated, granted
                             or devised, unless and until the board of directors or other
                             body obtains from the court an order under 20 Pa.C.S. Ch. 77
                             (relating to trusts) specifying the disposition of the property.


                             § 5550. Devises, bequests and gifts after certain fundamental
                             changes.

                                  A devise, bequest or gift to be effective in the future, in trust or
                             otherwise, to or for a nonprofit corporation which has:

                                     (1) changed its purposes;

                                   (2) sold, leased away or exchanged all or substantially all its property
                             and assets;

                                     (3) been converted into a business corporation;

                                     (4) become a party to a consolidation or a division;

                                     (5) become a party to a merger which it did not survive; or

                                     (6) been dissolved;

                             after the execution of the document containing the devise,
                             bequest or gift and before the nonprofit corporation acquires a
                             vested interest in the devise, bequest or gift shall be effective
                             only as a court having jurisdiction over the assets may order
                             under 20 Pa.C.S. Ch. 77 (relating to trusts) or other applicable
                             provisions of law.


                             § 5930. Voluntary transfer of corporate assets.

                                   (a) General rule.--A sale,
                                                          lease, exchange or other
                             disposition of all, or substantially all, of the property and
                             assets, with or without goodwill, of a nonprofit corporation, if
                             not made pursuant to Subchapter F of Chapter 3 (relating to

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                             division), may be made only pursuant to a plan of asset
                             transfer. The property or assets of a direct or indirect subsidiary
                             corporation that is controlled by a parent corporation shall also be deemed
                             the property or assets of the parent corporation for purposes of this
                             subsection. The plan of asset transfer shall set forth the terms and
                             consideration of the sale, lease, exchange or other disposition or may
                             authorize the board of directors or other body to fix any or all of the terms
                             and conditions, including the consideration to be received by the
                             corporation. Any of the terms of the plan may be made dependent upon
                             facts ascertainable outside of the plan if the manner in which the facts will
                             operate upon the terms of the plan is set forth in the plan. The plan of asset
                             transfer shall be proposed and adopted, and may be amended after its
                             adoption and terminated, by a nonprofit corporation in the manner provided
                             in this subchapter for the proposal, adoption, amendment and termination of
                             a plan of merger. A copy or summary of the plan shall be included in, or
                             enclosed with, the notice of the meeting at which members will act on the
                             plan. In order to make effective any plan so adopted, it shall not be
                             necessary to file any articles or other document in the department, but the
                             corporation shall comply with the requirements of section 5547(b) (relating
                             to nondiversion of certain property).



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                             -----Original Message-----
                             From: Daniel E Brannen Jr <dbrannen@brannenlawllc.com>
                             Sent: Friday, November 8, 2019 10:12 PM
                             To: Morgen Cheshire <morgen@cheshirenonprofitlaw.com>
                             Subject: Fundamental Change



                             Hello Morgen-- Good to talk to you today. Please send over the
                             Fundamental Change citation when you can. Thanks. --Dan



                             --

                             Daniel E. Brannen Jr.

                             Brannen Law LLC

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                             Santa Fe NM 87508

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Exhibit W
                         CELDF Continues to Move Forward


 Dear CELDF Board of Directors,

 The undersigned CELDF staff see tremendous opportunity for our work to grow and expand in
 the United States and beyond.

 The people that make up CELDF are effectively advancing the organization’s mission to build “a
 movement for Community Rights and the Rights of Nature to advance democratic, economic,
 social, and environmental rights – building upward from the grassroots to the state, federal, and
 international level.” ​CELDF staff have been achieving CELDF’s mission, and we have the
 capacity and vision to do much more, if we can resolve the current impasse. Our mission is
 unique. No other organization is doing this work.​ We believe in the inherent Rights of Nature
 and Local Self Government, and we will continue to advance these rights in the communities
 and ecosystems we serve.

 Undersigned staff have made this a boon year for the movement and for CELDF itself. The Lake
 Erie Bill of Rights, Denver’s Right to Survive ordinance, seeing community rights advocates
 elected to city council in Colorado, introducing constitutional change in Pennsylvania, new law
 making and introduced constitutional change in New Hampshire, implementing law in Oregon,
 revising the Democracy School curriculum and offering two pilot classes, starting a new
 campaign and coalition in Washington, filing numerous legal briefs, defending basic democratic
 institutions like the local ballot process in Ohio, seeking to enforce the right of initiative as a
 federally-protected right, initiating legislative coalitions, creating promotional and educational
 videos with high production value, and numerous other developments have made 2019 a year
 to remember. We have achieved international and national notoriety like never before, and been
 featured in publications and productions like The New York Times, VOX, Democracy Now!,
 CNN, The Intercept, The Guardian, Le Monde, The Daily Show, CBC News, Mother Jones,
 Bloomberg, Salon, among numerous independent and local outlets. ​The undersigned staff and
 our community partners have catalyzed and shaped these efforts into meaningful change. We
 are dedicated to the principles we fight for: we live them in practice as well as theory, and we
 commit to growing this movement in the years to come.

 The present turmoil within CELDF is hamstringing us from continuing this work and scaling up.
 Thomas is no longer fundraising for CELDF, actively undermining the effectiveness of CELDF,
 courting CELDF funders, and threatening to collapse CELDF if his demands are not met. In a
 normal situation Thomas would merely leave. Instead, his oppositional stance has created an
 unnecessary and volatile situation.

 But there is a smart next step forward.




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As mentioned, Thomas has already been interacting with funders in his own interest and against
the interests of CELDF, and will be taking funders with him when he departs. It is in everyone’s
best interest for CELDF’s work to continue and for this situation to resolve promptly. This means
prioritizing CELDF’s successful transition and retaining current staff so we can continue our
work and expand it into new realms. Intelligently safeguarding CELDF through this transition is
of the utmost importance and is the Board’s legal responsibility.

CELDF’s existing staff has advanced this work for decades and demonstrated the capacity to
expand the reach to new audiences. (See staff bios below.) Our experienced organizing, legal,
media, and fundraising capabilities will write the next chapter of the CELDF story. We recognize
that you possess the authority to decide whether CELDF will remain in existence and we want
you to know that we are eager and ready to continue this work. Thomas is perfectly welcome to
walk; but an agreement with him is not necessary at this time.

We recognize and appreciate all the time and energy you have put into CELDF. The situation
you are in, we see, is not enviable, and we appreciate your continued commitment. We ask that
you take these vital actions regarding Thomas’ departure with the utmost seriousness and
commitment to what’s best for this organization and ultimately this movement.

Respectfully,

Simon Davis-Cohen​ - Since coming on in May, Simon, an experienced investigative journalist,
has developed a long term media strategy to assert CELDF’s leadership on core issues like
preemption and corporate rights, built media contacts, laid the groundwork for grassroots media
campaigns, helped continue our blogging efforts, and gotten CELDF staff published in Common
Dreams, The Ecologist, Truthout, The Guardian, PennLive, Earth Island Journal, In These
Times, and ​Scalawag. Before joining CELDF he worked directly with CELDF staff like Gail
Darrell to record lessons-learned essays, and covered CELDF’s work in numerous media
outlets including Fusion, The Nation, In These Times, Truthout, Common Dreams,
DeSmogBlog, Jacobin, Earth Island Journal, and local outlets.
Will Falk ​- Will Falk, a lawyer, cut his teeth on rights of nature work when he helped to file the
first-ever American federal lawsuit seeking rights for a major ecosystem, the Colorado River, in
2017. His book ​How Dams Fall, ​narrating his experiences with the lawsuit, was published in
August, 2019. Will began helping CELDF in May 2018 with various research and writing
projects. And, in March 2019, Will was assigned to assist CELDF’s Ohio efforts. He has
published many essays on Rights of Nature with platforms such as the San Diego Free Press,
CATALYST Magazine, Canary Literary Magazine, Earth Island Journal, and the Deep Green
Resistance News Service, among others.
Malinda Harnish-Clatterbuck ​- Malinda was introduced to CELDF’s work through her work
founding Lancaster Against Pipelines, which used non-violent civil disobedience to resist a
transmission line. Malinda joined the executive board of the Pennsylvania Community Rights
Network five years ago and has been promoting the work of Community Rights ever since. She



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came on board working with CELDF two years ago, speaking alongside Chad Nicholson to
communities and legislators throughout Pennsylvania, and helping build a coalition of support
for a constitutional amendment for the Rights of Local Self Government, including allies in the
House of Representatives who have introduced the amendment. Malinda has worked as a
pastor, and demonstrated consistent and strong support for CELDF’s work in her personal and
professional lives. She has published with Earth Island Journal, and been featured in media
venues on a national and international scale over the past few years.
Karen Hoffmann ​- Since joining CELDF in 2017, Karen, an attorney, has defended Grant
Township's Home Rule Charter before the Commonwealth Court of Pennsylvania, as well as
representing Grant through its Third Circuit appeal and mediation of an attorney's fees
judgment of more than $100,000, which resulted in a favorable settlement for the Township.
She also worked with Pennsylvania organizer Chad Nicholson to help Todd Township draft an
ordinance protecting the Rights of Nature and local self-government in the face of corporate
factory farms.
Crystal Jankowski ​- A core community activist behind LEBOR and social justice organizer,
Crystal has overhauled CELDF’s social media strategy and presence online, works on special
projects, and provides staff with artistic and technical assistance.
Kira Kelley ​- Since joining CELDF as a contract attorney in January 2018, Kira has defended
Rights Based Ordinances across New Hampshire; appearing in court, at the State House, and
before municipal boards. Kira has deep roots in activist networks all over New England, and
incorporates the sentiments behind rights-based organizing into the work she does in her
capacity as President of the Vermont National Lawyers Guild.
Lisa Kochheiser ​- Since learning about Community Rights six years ago, Lisa has helped start
five Community Rights/Rights of Nature initiatives in Northwest Ohio, including in Waterville and
Toledo. She is a founding board member of both the National Community Rights Network and
the Ohio Community Rights Network. She helped write the NCRN’s federal constitutional
amendment, as well as OHCRN’s two state constitutional amendments. Lisa helps document
CELDF’s history in real time, and recently wrote an article about the corporate state’s opposition
to Rights of Nature in Ohio, for Truthout. Her duties include fundraising and grant writing,
organizing OHCRN’s 2018 statewide conference, advancing Community Rights and Rights of
Nature through graphic design, advertising, and writing on social media.
Lindsey Schromen-Wawrin​ - Lindsey, an attorney, has led and supported litigation for dozens
of communities CELDF works with, blogged for CELDF, has published scholarly articles and
presentations to lawyers, and is leading the drafting of CELDF’s Community Rights
Do-It-Yourself Guide to Local Lawmaking.
Markie Miller​ - A lead organizer and spokesperson for LEBOR, Markie works on grant writing
and researching, communications with funders and supporters, and ​works on special projects.
She is also an ambassador for the Lake Erie Bill of Rights and Rights of Nature, speaking at the
United Nations and appearing on The Daily Show and in numerous media outlets.
Chad Nicholson ​- PA Organizer. Involved with rights-based work since 2009, as campaign
coordinator for the first Envision Spokane effort. Lead rights-based organizer in PA since 2013,
which includes assisting Grant Township and numerous other local rights-based efforts. Work in
Grant Township includes assisting with the first-in-the-nation rights-based local constitution,



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ecosystem attempt to intervene in a lawsuit,and law legalizing nonviolent direct action to protect
rights. Chad has also appeared in ​Rolling Stone​ on Grant Township, as well as a recent
documentary on Grant Township, ​Invisible Hand​.​ Co-author, with Ben Price, of the PA
Community Rights Cookbook. Recent work includes directly assisting with the introduction of the
RLSG constitutional amendment into the PA House, in 2019. National Democracy School
lecturer.
Terry J. Lodge ​- With nearly 50 years’ experience as an activist, civil and environmental rights
litigator, Terry has filled much of his past six years with CELDF filing countless briefs in support
of direct democracy in Ohio,Community Rights, and Rights of Nature. Steeped in antiwar
activism from the Vietnam era, he’s long opposed nuclear power and nuclear weapons,
corporate welfare, mountaintop removal, fracking, and other desecratory insults to nature. He
also has litigated free speech and diversity in the workplace and public life. He is a recipient of
the Alliance for Nuclear Accountability’s “Unsung Heroes” award (2018), the Toledo Access to
Justice Award (2003), and an ACLU Civil Liberties Champion trophy (2006). Terry believes the
return to democratic roots is essential for us to move together to resist climate chaos and move
closer to an equitable society.
Tish O’Dell ​- Since joining CELDF in 2013 after the passage of the first CBOR in Ohio by
initiative in her community of Broadview Heights, Tish has worked to assist other community
members in more than a dozen counties make over 40+ attempts to pass CELDF-drafted laws.
She also worked very closely with the Toledo group since 2016 to get the Lake Erie Bill of
Rights passed and has worked with the OHCRN to develop an Ohio Community Rights
Workshop, two state constitutional amendments, and coordinate the first statewide community
rights conference, titled Growing Roots and Rights for Just Communities. She has appeared in
numerous media outlets, been featured in the film We the People 2.0, and has assisted in the
drafting of new Democracy School curriculum, the Common Sense Newsletter, multiple CELDF
blogs and op-eds, CELDF’s Community Rights videos, and countless presentations throughout
Ohio.
Ben Price​ - Current National Director of Organizing, first community organizer for CELDF,
beginning in 2004. Worked with scores of municipalities in PA and around the country to draft
and enact community bills of rights; assisted Tamaqua Borough to become the first community
on Earth to recognize rights for ecosystems in law; worked with Pittsburgh City Council and
neighborhood assemblies to enact a community bill of rights that recognizes Rights of Nature
and bans gas extraction in the city; long-standing Democracy School lecturer and contributor to
several of its incarnations; op-ed writer and author of 2019 book “How Wealth Rules the World:
Saving Our Communities and Freedoms from the Dictatorship of Property.”
Kai Huschke​ - Northwest + Hawaii organizer - Centrally involved in the first-in-the-nation
Community Bill of Rights, Worker Bill of Rights, and Voter Bill of Rights campaign efforts in
Spokane, Washington. Centrally involved in the first law banning pesticide spraying in Oregon.
Centrally involved in the second-in-the-nation and first-in-Hawaii rights of nature conservation
easement. Chief advisor to the Oregon Community Rights Network and the effort to
constitutionalize local self-government in Oregon. National lecturer for Democracy School.
Michelle Sanborn ​– New England Organizer & NHCRN President. Michelle led a successful
local rights-based law making effort in early 2014 that banned industrial wind turbines. She then



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joined CELDF as the NHCRN Coordinator, and became CELDF’s New England Organizer in
2015, succeeding Gail Darrell. Michelle has nurtured relationships with state representatives,
helping New Hampshire to become the first state in the nation to move the Community Rights
Amendment three times, in 2016, 2018, and 2019. She has continued to expand the Community
Rights Movement throughout New Hampshire, Vermont, and Maine by assisting local law
making efforts, including the first New Hampshire Right to a Healthy Climate law in Exeter, and
Barnstead’s first-in-the-nation law securing religious freedom. Most recently, she has begun
outreach at the congressional level to discuss the need for federal recognition of Community
Rights.




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Gmail - Please see enclosed correspondence from CELDF attorneys                                                            12/10/19, 1(00 PM



  Exhibit X
                                                                                           Kira Kelley <kakelley436@gmail.com>



 Please see enclosed correspondence from CELDF attorneys
 3 messages

 Terry Lodge <tjlodge50@yahoo.com>                                                      Fri, Oct 25, 2019 at 2:27 PM
 Reply-To: Terry Lodge <tjlodge50@yahoo.com>
 To: Thomas Linzey <tal@pa.net>, "Daniel E. Brannen Jr" <dbrannen@brannenlawllc.com>, Tammy Belinsky
 <tambel@hughes.net>
 Cc: Lindsey Schromen-Wawrin <lindsey@shearwaterlaw.com>, Will Falk <falkwilt@gmail.com>, Karen Hoffmann
 <karen@syrenalaw.com>, Kira Kelley <kakelley436@gmail.com>

    Thomas, Dan, Tammy,

    We have collectively decided to not attend the lawyers’ retreat. We would like to flesh out better strategies
    around the right of local community self-government and rights of nature; however, this is not the time for that
    discussion. There are issues affecting the continuation of CELDF’s existence and work that should occupy the
    highest priority right now.

    We understand that Thomas has been threatening to take CELDF’s funders in his departure from this
    organization. Additionally, he has repeatedly refused to meet with CELDF’s community organizers, both before
    and since his resignation as Executive Director. Thomas is threatening the future of the organization, rather than
    departing as Executive Director in a way that allows the organization to continue its forward momentum.

    We support the idea of getting together to discuss where we are going – as an organization, and as a movement.
    But that meeting is not the lawyers’ retreat. The appropriate gathering should include organizers and other core
    staff and board members, and should not ignore the existential issues and power dynamics.

    We firmly believe in the work we do at CELDF: furthering the Community Rights movement, where people
    gather together and make decisions about how to structure their society in ways that best protect the common
    good. We, along with the organizers who bring these ideals to life in the communities we serve, want open and
    transparent conversations about how we can put our energy and compassion to best use. Unilateral decisions
    about how CELDF operates threaten and undermine our organizers and our communities, and go against the very
    heart of what our organization stands for. We would be remiss if we, through complicit silence, allowed this
    organization to deviate from the theory of change that brought us all together in the first place.

    Respectfully,

    Lindsey

    Karen H.

    Kira

    Terry

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Gmail - Please see enclosed correspondence from CELDF attorneys                                                            12/10/19, 1(00 PM




    Will



 Thomas Alan Linzey, Esq. <tal@pa.net>                                                  Fri, Oct 25, 2019 at 2:41 PM
 To: Terry Lodge <tjlodge50@yahoo.com>, "Daniel E. Brannen Jr" <dbrannen@brannenlawllc.com>, Tammy Belinsky
 <tambel@hughes.net>
 Cc: Lindsey Schromen-Wawrin <lindsey@shearwaterlaw.com>, Will Falk <falkwilt@gmail.com>, Karen Hoffmann
 <karen@syrenalaw.com>, Kira Kelley <kakelley436@gmail.com>


    Terry,



    Thanks for including me in this conversation. All I can say is that you have less than half the story
    about what has been occurring; and the fact that you have not spoken to me directly about any of
    these issues is disappointing, to say the least.



    I have worked for the past several months to engage the Board of the organization in negotiations
    surrounding my departure from the organization. Apart from the fact that the Board is currently
    paralyzed due to the actions of others, there has been no good faith effort to engage me in those
    negotiations. I am disappointed and saddened by this turn of events; most of which has been kept
    secret from both the lawyers and the organizers for the Legal Defense Fund.



    So I would encourage you, and others, to understand that there are several sides to any story, and
    that the current “narrative” that is circulating about my continuing role in the organization is not the
    whole story.



    And also to note that the Executive Committee itself voted to move forward with this lawyers’ retreat;
    and that in deciding not to collectively attend, that you are undermining the very Executive Committee
    that is ostensibly making decisions on behalf of the organization. And that was after Lindsey
    specifically made his plea to the Committee to cancel the event.



    Saddened and disappointed by this turn of events,



    -Thomas
    [Quoted text hidden]



 tambel <tambel@hughes.net>                                                              Fri, Oct 25, 2019 at 4:09 PM
 To: "Thomas Alan Linzey, Esq." <tal@pa.net>, Terry Lodge <tjlodge50@yahoo.com>, "Daniel E. Brannen Jr"
 <dbrannen@brannenlawllc.com>


https://mail.google.com/mail/u/0?ik=f62a2cce54&view=pt&search=…msg-f%3A1648391805689952426&simpl=msg-f%3A1648397331588573809     Page 2 of 3

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Gmail - Please see enclosed correspondence from CELDF attorneys                                                            12/10/19, 1(00 PM



 Cc: Lindsey Schromen-Wawrin <lindsey@shearwaterlaw.com>, Will Falk <falkwilt@gmail.com>, Karen Hoffmann
 <karen@syrenalaw.com>, Kira Kelley <kakelley436@gmail.com>

    All,

    The lawyers who decided not to attend the retreat want the staff, contractors and board members to convene to
    discuss the direction of the organization.

    The lawyers fail to acknowledge the underlying disagreement about which bylaws currently govern the organization
    and who are valid board members. The organization is crippled without a governance structure. The organization
    cannot continue to operate for long without a valid board. With disagreement over who is on the board, no decisions
    have been made. So I do not understand the misplaced reference to unilateral decisions. If I thought that Ed Wells
    and I could make decisions that would not be challenged, believe me, those decisions already would have been
    made.

    Various proposals have been put forth to resolve the bylaws-conflict without involvement of the court. At every step,
    the proposals have been rejected by Fred Walls and Stacey Schmader who have been side-dealing with one or more
    of the contract lawyers. Fred and Stacey never give rational explanations nor do they suggest rational alternatives to
    proposals from Thomas, Ed Wells, and me. Fred Walls thinks the corporation can operate without a board, which is
    illegal.

    In this crisis, I have consistantly advocated for a revision to the bylaws that would put into action the plans for
    decisions to be made by committee, because that's the direction the staff indicated it wants to go.

    The only unilateral decisions that have been made that work against the democratization of the organization were
    made by Stacey. If I am wrong about that, please correct me. All of my efforts in the last month have been focused
    on fixing the authoritarian versions of the bylaws that Stacey misinterprets and has misused. I have proposed
    replacing the bylaws with a structure that reflects collective decision making. The only caveat in that proposal was a
    15 month test period with reporting back to the board in 12 months with further recommendations in regard to
    governance. I proposed an interim set of bylaws to which Stacey and Fred, and whom ever is giving them direction,
    never responded one way or the other. Stacey and Fred have only said no, said nothing productive, or said nothing at
    all throughout the conflict.

    Thomas and I both care very deeply about the health of the organization so there seems to be a misunderstanding in
    that regard.

    Instead, it seems what is really sought by the staff is anarchy because the staff has rejected leadership in every form.
    And it is not sustainable.

    Tammy Belinsky
    [Quoted text hidden]




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Exhibit Y
                       AGREEMENT AND MUTUAL RELEASE
         AND NOW, comes the Community Environmental Legal Defense Fund, Inc., a nonprofit
 corporation incorporated under the laws of the Commonwealth of Pennsylvania (hereinafter
 “CELDF”), the Center for Democratic and Environmental Rights, Inc., a nonprofit corporation
 incorporated under the laws of the State of Washington (hereinafter “CDER”), Thomas Linzey,
 an individual, co-founder, and currently Executive Director of CELDF (hereinafter “LINZEY”),
 Stacey Schmader, an individual, co-founder, and currently Secretary/Treasurer of CELDF
 (hereinafter “SCHMADER”), Tammy Belinsky, an individual and member of the Board of
 Directors of CELDF (hereinafter “BELINSKY”), Fred Walls, an individual and member of the




                                                                                         N
 Board of Directors of CELDF (hereinafter “WALLS”), Edward Wells, an individual and member




                                                                            IO
 of the Board of Directors of CELDF (hereinafter “WELLS”) (BELINSKY, WALLS, and




                                                                         UT
 WELLS collectively hereinafter “BOARD”), and Leticia O’Dell, Chad Nicholson, Kai Huschke,
 Markie Miller, Malinda Clatterbuck, Michelle Sanborn, and Crystal Jankowski (hereinafter
 “PLAINTIFFS”), and enter into this Agreement as set forth below, intended by the parties to be a




                                                                      RIB
 binding contractual agreement enforceable by any party, as evidenced by the signatures below by
 the Board of Directors of both organizations, as the legal governing bodies of those entities, and




                                                                IST
 by the BOARD, CELDF, LINZEY, SCHMADER, and PLAINTIFFS in both their individual and
 corporate capacities, as applicable.

                                                        RD
 Whereas, CELDF has grown exponentially over the last twenty-four years and its growth has
 required a significant shift in the work and focus of the organization;
                                                 FO
 Whereas, such a shift in work and focus requires expansion of the underlying work begun by
                                         T

 CELDF into other areas, including academia, the development of standards to support the
                                      NO


 expansion of the work, and training more individuals to do the work in the absence of
 corresponding financial resources;
                        L-



 Whereas, this necessary shift in work and focus requires more speaking, writing, the launching
 of strategic initiatives, and working with organizations and existing networks likely to support
                    T IA




 the work in different issue and geographic areas;
                  EN




 Whereas, it has become apparent to the Board of Directors that such a shift will require other
 resources and organizational structures, and that such a shift coincides with the desire of
          ID




 LINZEY, a co-founder and Executive Director of the organization to formally depart the
 organization;
       NF




 Whereas, the Board of Directors, for business reasons within its discretion and not enumerated
 CO




 herein, decided that dissolution of CELDF, winding up its affairs, and transfer of remaining
 funds to the National and State Community Rights Networks was one way to accomplish this
 shift of resources and organizational structures, but has been asked to consider an alternative that
 does not involve dissolution of CELDF;

 Whereas, the Board of Directors still recognizes that reorganization of CELDF, to include
 renaming of the organization, is in the organization’s best interest as it pursues its mission in
 parallel with CDER and LINZEY;


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Whereas, this contractual agreement recognizes the necessity of that shift and expansion, creates
a framework and agreement to support that shift and expansion, and establishes a collaborative
relationship between the parties to attain mutually-agreed upon goals;

Whereas, SCHMADER AND PLAINTIFFS have filed claims for certain alleged violations of
law against CELDF, LINZEY, the BOARD, and CDER; and

Whereas, CELDF, LINZEY, the BOARD, and CDER deny that they have violated any laws or
are in any way liable to SCHMADER, PLAINTIFFS, or anyone else for any alleged wrongdoing




                                                                                      N
related to recent efforts, including without limitation recent efforts to negotiate terms for
LINZEY’s departure from CELDF, recent efforts to pursue dissolution of CELDF for what the




                                                                         IO
Board considers to be good faith business reasons, and LINZEY’s recent efforts to form CDER




                                                                      UT
to continue his work for the rights of communities and nature.




                                                                   RIB
Therefore, CELDF, CDER, SCHMADER, LINZEY, BELINSKY, WALLS, WELLS, and
PLAINTIFFS enter into this contractual agreement and agree:




                                                             IST
   1. That the parties recognize the importance, and continuing vitality, of the work of CELDF,
      CDER, SCHMADER, PLAINTIFFS, and LINZEY towards the recognition of rights for
                                                     RD
      communities and nature, and that the parties mutually respect each other and wish to
      support each other’s future work in this area;
                                               FO
   2. That the parties desire to create and continue to foster a collaborative relationship
      between them;
                                       T
                                    NO


   3. That in the interest of collaboration and mutual affection, that CELDF and CDER wish to
      enter into this Agreement to provide for a framework for future work between CELDF
                      L-



      and CDER;
                  T IA




   4. That in consideration for the signing of this Agreement by the parties, and in
      consideration for the provisions of this contractual agreement, that CDER and LINZEY
                EN




      agree to the following:

           a. That CDER will function as a new organization committed to continuing to
        ID




              advance the rights of communities and nature;
     NF




           b. To use cash assets transferred from CELDF, pursuant to this Agreement, to carry
              out work and activities that can be carried out by an organization exempt from
CO




              federal income tax pursuant to Section 501(c)(3) of the Internal Revenue Code, or
              future, corresponding sections of that Code, and to affirm that CDER is a
              nonprofit corporation incorporated under the laws of the State of Washington, and
              has been recognized as a tax-exempt charitable organization pursuant to federal
              law and regulations;
           c. To not disparage CELDF with parties that associate with CELDF or CDER,
              including existing funders, potential funders, new funders, communities, elected
              officials, and individuals working with CELDF or CDER;


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       d. To not carry out any activities within those states in which CELDF currently has
          organizing and legal staffpersons, meaning New Hampshire, Maine,
          Pennsylvania, Ohio, Washington, Hawai’i, and Oregon, except when such work is
          agreeable to both CDER and CELDF, and is done under another agreement which
          outlines how that working relationship will be carried out;
       e. To assist, to the extent possible, the continued work of CELDF, including
          providing leads and media contacts to CELDF staff working in those states in
          which CELDF has organizing and legal staffpersons, and providing general
          strategic advice as requested;




                                                                                  N
       f. To participate in a joint public announcement between CELDF and CDER, to
          announce the CDER as a collaborative spin-off of CELDF, with a focus of CDER




                                                                     IO
          on facilitating a larger conversation about the rights of communities and nature;




                                                                  UT
       g. To do everything necessary to ensure that CDER’s approval and execution of this
          Agreement is lawful under all applicable laws and regulations, including, without




                                                               RIB
          limitation, the Internal Revenue Code’s laws and regulations concerning the
          approval of interested party transactions, if applicable; and
       h. That LINZEY will resign from CELDF as Executive Director, Senior Counsel,




                                                         IST
          and in every other capacity upon execution of this Agreement by all parties.


                                                 RD
5. That in consideration for CDER’s and LINZEY’S signing of this Agreement, and in
   consideration of the provisions of this contractual agreement binding the parties, that
   CELDF and the BOARD agree to the following:
                                           FO
       a. To revoke the Board’s Resolution for dissolution of CELDF;
                                   T

       b. To continue to pay for all fees, costs, and expenses related to the ongoing
                                NO


          Pennsylvania Disciplinary Board proceedings against LINZEY, which stem from
          the ruling by Judge Baxter in the Pennsylvania General Energy, LLC v. Grant
          Township action in which Judge Baxter initiated a complaint to the Pennsylvania
                  L-



          Disciplinary Board, with such fees, costs, and expenses including, but not limited
          to, the payment of all continuing fees, costs, and expenses for Attorney Craig
              T IA




          Simpson for a period not to exceed fourteen (14) months from the date of the
          signing of this agreement, to defend LINZEY before the Disciplinary Board, to be
            EN




          capped at thirty-five thousand dollars ($35,000) in addition to the payment of
          administrative fees, if so ordered, not to exceed three thousand dollars ($3,000) in
     ID




          amount;
       c. To apply for, obtain, and use for all future purposes, a trade name (d/b/a) for
  NF




          CELDF, discontinue the use of the CELDF name for all purposes once that trade
          name is obtained, and to use that trade name for all purposes in connection with
CO




          the operation of the corporation;
       d. To participate in a joint public announcement between CELDF and CDER, as a
          spin-off of CELDF, with the focus of CDER on facilitating a larger conversation
          about the rights of communities and nature;
       e. To transfer the “International Center for the Rights of Nature” program from
          CELDF to CDER, including the Center’s name, logo, and contacts;
       f. To transfer eight hundred thousand dollars ($800,000) from the unrestricted cash
          reserves of CELDF to CDER for its creation and operation as a 501(c)(3)

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            organization, and to wire those monies directly from the relevant CELDF
            accounts within three (3) business days of the signing of this contractual
            agreement by both parties;
         g. To not disparage LINZEY or CDER with parties that associate with CELDF or
            CDER, including existing funders, potential funders, new funders, communities,
            elected officials, and individuals working with CELDF or with CDER;
         h. To vacate the board of directors’ positions currently held by Tammy Belinsky and
            Edward Wells; and
         i. To do everything necessary to ensure that CELDF’s approval and execution of




                                                                                 N
            this Agreement is lawful under all applicable laws and regulations, including,
            without limitation, the Internal Revenue Code’s laws and regulations concerning




                                                                     IO
            the approval of interested party transactions, if applicable.




                                                                  UT
CELDF, CDER, SCHMADER, LINZEY, BOARD, BELINSKY, WALLS, WELLS, and
PLAINTIFFS agree:




                                                               RIB
  a. That this Agreement represents the sole agreement between all the PARTIES concerning
     the matters discussed herein;




                                                         IST
  b. That all PARTIES agree that the current Board of Directors of Walls, Wells, Belinsky,
     and Mazza is the legal, governing body of CELDF and thus, the only organ of CELDF

                                                  RD
     capable of entering into this contractual agreement on CELDF’s behalf;
  c. That all the PARTIES to this agreement agree that the claims asserted by SCHMADER
     and PLAINTIFFS against LINZEY, BELINSKY, WALLS, WELLS, CELDF, and CDER
                                            FO
     are disputed and therefore subject to resolution by compromise between the PARTIES;
  d. That all the PARTIES hereby release each and every one of the other PARTIES (and
                                    T

     their Directors, Officers, employees, and agents of all kinds) from any and all claims,
                                 NO


     causes of actions, and liability of any and all kinds for actions, omissions, and other
     conduct of any and all kinds occurring prior to the signing of this Agreement, whether
     known or unknown prior to the signing of this Agreement, and whether asserted or
                    L-



     unasserted prior to the signing of this Agreement;
  e. That all the PARTIES waive any and all challenges to any terms of this agreement, and
                T IA




     hereby waive their rights to challenge the authority of either the current four-person
     Board to enter into this Agreement on behalf of CELDF, or the authority of CDER or
              EN




     LINZEY to enter into this agreement;
  f. That all the PARTIES agree that this Agreement is a contract, and enforceable by any
       ID




     party against any other party if the terms are not satisfied by any party;
  g. That the PARTIES agree that no government, agency, governmental entity, or any other
    NF




     third party has the power or authority to approve or disapprove this Agreement, and that
     by signing this Agreement, all the PARTIES hereby waive their ability to challenge this
CO




     Agreement related to that ground; and
  h. That in the event of a claim, action, or other proceeding of any kind for breach or
     enforcement of this Agreement, the prevailing party shall be entitled to recover from the
     non-prevailing party all costs and reasonable attorneys’ fees in addition to damages,
     specific enforcement, and any other remedy available in law or equity.




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Agreed to this ___________Day of _________________, 2019.


Signed for LINZEY:


________________________________________________
Thomas Alan Linzey, Esq.




                                                                     IO         N
Signed for SCHMADER:




                                                                  UT
                                                               RIB
________________________________________________
Stacey L. Schmader




                                                         IST
Signed on behalf of CELDF, by the Board of Directors, and signed in their individual
capacities on their on behalf:
                                                  RD
                                            FO
________________________________________________
Tammy Belinsky, Chair, Board of Directors
                                     T
                                  NO


________________________________________________
Ed Wells, Member, Board of Directors
                     L-
                 T IA




________________________________________________
Fred Walls, Member, Board of Directors
        ID     EN




________________________________________________
Merrily Mazza, Member, Board of Directors
     NF
CO




Signed on behalf of CDER, by the Board of Directors:


________________________________________________
Thomas Alan Linzey, Esq., Director



                                         Page 5 of 6

                                             76
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________________________________________________
Mari J. Margil, Director




Signed for PLAINTIFFS:




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________________________________________________




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                                                       UT
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                                                    RIB
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               T IA
       ID    EN
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CO




                                  Page 6 of 6

                                      77
Community Environmental Legal Defense Fund Mail - CELDF contractors    https://mail.google.com/mail/u/2?ik=90434416fb&view=pt&search=all...
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          Exhibit Z
                                                                                        Stacey Schmader <stacey@celdf.org>



         CELDF contractors
         Tammy Belinsky <tambel@hughes.net>                                                  Mon, Dec 30, 2019 at 10:04 AM
         To: Stacey Schmader <stacey@celdf.org>, "Thomas Alan Linzey, Esq." <tal@pa.net>, Daniel E Brannen Jr
         <dbrannen@brannenlawllc.com>
         Cc: Fred Walls <lockhartandfriends@gmail.com>, Edward Wells <ewells@wilson.edu>, Merrily
         <merrily.mazza@comcast.net>

           All,

           Based on the advice of the lawyer for the members of the Board, CELDF is not to enter into any
           new contracts while the lawsuit is pending.

           Tammy Belinsky




                                                                  78

1 of 1                                                                                                                  1/7/2020, 12:29 PM
